Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 1 of 94




            EXHIBIT 183
            REDACTED
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 2 of 94




        Assessment, Support and Therapeutic Approaches for Adolescents with Gender Variance/Dysphoria

       SOC 7:3 Draft 1/20/21




       INTRODUCTION

       Historical Context and Changes Since Previous Guidelines
                Compared to the longer-established care models for transgender adults, specialized healthcare
       for transgender adolescents is a relatively new field of practice. Until recently, there were few
       specialized gender clinics for youth globally, and the handful of clinics served generally small numbers of
       children and adolescents. In more recent years there has been a sharp increase in the number of
       adolescents requesting gender care (Arnoldussen et al. , 2019, Kaltiala et al., 2019). New clinics have
       been founded, but clinical services in many places do not keep pace with the increasing number of
       youth seeking care. Hence, there are often long waitlists for services and barriers to care still exist for
       many transgender youth around the world.
                For a long time, there was limited information regarding the prevalence of gender diversity
       among adolescents. Studies from high school samples give much higher current estimates than earlier
       expected of 1.2% identifying as transgender (Clark et al., 2014) and up to 2.7% or more (e.g., 7-9%)
       experiencing some level of self-reported gender diversity (Eisenberg et al., 2017, Wang et al., 2020,
       Kidds et al., 2021). These studies suggest that gender diversity should no longer be viewed as rare.
       Additionally, a pattern of uneven ratios by assigned sex has been reported in gender clinics, with
       adolescents assigned female at birth initiating care 2.5-7.1 times more frequently as compared to
       adolescents who are assigned males at birth (Arnoldussen et al., 2019, Kaltiala et al., 2015 Kaltiala et al.,
       2019, Aitken et al., 2015, de Graaf et al., 2018).
                A specific WPATH standards of care section dedicated to the needs of children and adolescents
       was first included in the WPATH Standards of Care in its 5th version from 1988. Youth age 16 or older
       were deemed potentially eligible for gender affirming medical care, but only in select cases. The
       subsequent 6th (2005) and 7th (2011) versions divided medical affirming treatment for adolescents into
       three categories and formulated eligibility criteria regarding age/puberty stage: fully reversible puberty
       delaying blockers as soon as puberty had started; partially reversible "masculinizing" or "feminizing"




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                             BOEAL_WPATH_020788



                                                                                    1
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 3 of 94




       hormone therapy for adolescents of age of majority, which was age 16 in certain European countries;
       and fully irreversible surgeries at age 18 or older, except for chest "masculinizing" mastectomy, which
       had an age minimum of 16 years of age. Other eligibility criteria for gender-related medical care were:
       persistent long (childhood) history of gender "non conformity"/dysphoria; emerging or worsening at the
       onset of puberty; absence or management of co existing psychological, medical or social problems that
       interfere with treatment; provision of support for moving forward with the intervention by the parents
       or other caregivers; and provision of informed consent. A specific chapter dedicated to transgender and
       gender diverse adolescents has been created for this 8th edition of the Standards of care, distinct from
       the child chapter, due to: (1) the exponential growth in adolescent referral rates, (2) research findings
       specific to adolescent gender diversity-related care, and (3) the special developmental and gender
       affirming care issues specific to this age group.

       Methodology
               For the current 8th revision of the Standards of Care, our multidisciplinary workgroup started by
       reviewing the recommendations in former editions. As there are now two separate chapters for
       childhood and adolescence, to ensure consistency between both chapters, some authors were part of
       both chapters. For a similar reason, when applicable, we collaborated with other chapters on topics
       shared between the chapters (i.e., Assessment of Adults, Hormone Therapy, Surgery and Reproductive
       Health).
               Draft statements were refinements of earlier versions of the SOC and also draw from the more
       recent Endocrine Society Clinical Practice Guideline (Hembree et al., 2017). Statements were rephrased
       or adapted and several new statements were added. This led to the formulation of the final 12
       statements that were prepared for the Delphi process. In two rounds they all reached consensus
       endorsement from the larger Standards of Care revision committee.

       Adolescence Overview
                Adolescence is a developmental period characterized by relatively rapid physical and
       psychological maturation that bridges between childhood and adulthood (Sanders, 2013). Multiple
       developmental processes occur simultaneously, including pubertal-signaled changes, cognitive,
       emotional, and social development, and related psychosocial development. These processes do not all
       begin and end at the same time for a given individual, nor do they occur at the same age for all persons.
       Therefore, the lower and upper borders of adolescence are imprecise and cannot be defined exclusively
       by age, despite the fact that brain development occurs well into the mid-20's and also the fact that
       different countries and States define age of majority (legal decision-making status) at different ages
       (Dick et al., 2014). While a majority of municipalities define the age of majority at 18 years, in some
       countries it is as low as 15 years (e.g. Indonesia and My      ar), whereas in others it is as high as 21
       years (e.g. Mississippi and Singapore).




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                         BOEAL_WPATH_020789



                                                                                 2
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 4 of 94




                Given the simultaneous, overlapping and interrelated adolescent developmental processes,
       including the common drive for independence from caregivers (Steinberg, 2004). Cognitive development
       in adolescence often involves moves towards increased abstract thinking, advanced reasoning, and
       meta cognition (i.e., a young person's ability to think about their own feelings in relation to how others
       perceive them; Sanders, 2013). The ability to reason hypothetical situations allows an individual to
       conceptualize numerous possibilities for a particular decision. Additionally, adolescents often experience
       a sense of urgency with a decreased threshold for experiencing reward in a hyperresponsive brain
       circuitry, as their sense of time has been found to be profoundly different than that of older individuals
       (Van Leijenhorst et al., 2010). Therefore, this period is also often associated with more risk-taking
       behaviors. Along with these notable developments in the adolescent brain, it is also a period known for
       individuation from parents and the development of autonomy, with a heightened focus on peer
       relationships, which can be both positive and detrimental (Gardner & Steinberg, 2005). Social-emotional
       development also advances during this period, with great variability among young people regarding
       level of maturity as it relates to inter and intra-personal communication and insight (Grootens-Wiegers
       et al., 2017). For transgender and gender diverse adolescents making decisions about gender affirming
       treatments that potentially have lifelong consequences, it is important to understand how all of these
       aspects of development impact the decision-making capacity for a given young person within their
       specific cultural context.

       Gender Identity Development in Adolescence
               The research and understanding of gender identity development in adolescence is evolving. It is
       important to understand what is known and that what is not known about gender identity development
       in adolescents when providing clinical care to young people and families (Berenbaum, 2018).         When
       considering sought after treatments, families may often have questions related to the development of
       their adolescent's gender identity and whether or not the adolescent's declared gender will remain the
       same over time. For some adolescents, a declared gender identity that differs from the assigned sex at
       birth comes as no surprise to their parents as their history of gender diverse expression dates back to
       childhood (Leibowitz & de Vries, 2016). For others, the declaration does not happen until the
       emergence of pubertal changes, or even well into adolescence (McCallion et al., 2021, Sorbara et al.,
       2020).
               Historically, social learning and cognitive developmental research on gender development was
       done on youth who were not necessarily gender diverse in identity or expression, under the assumption
       that sex correlated with a specific gender, and therefore little attention was given to gender identity
       development. In addition to biological factors influencing gender development, this line of research
       demonstrates that there is a role for psychological and social factors as well (Perry & Pauletti, 2011).
       While there has been less focus on gender identity development in transgender and gender diverse
       youth, there is ample reason to suppose that apart from biological factors, psychosocial factors are also
       involved. For some youth, gender identity development appears fixed, often expressed from a young




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                          BOEAL_WPATH_020790



                                                                                 3
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 5 of 94




       age, while for others there may be a developmental process that contributes to gender identity
       development over time. Families often have questions about this very issue arid so it is important to
       note that it is not possible to distinguish between those where gender identity may seem fixed from
       birth from those where gender identity development appears to be a developmental process. Future
       research would shed more light on gender identity development if done across many different
       environments over long periods of time with diverse cohort groups. Trends in the conceptualization of
       gender identity, shifting from dichotomous, or binary, categories of male and female to one that is a
       dimensional spectrum along a continuum (APA, 2013), would also need to be accounted for.
                Neuroimaging studies, genetic studies, and other hormone studies on individuals born with a
       difference of sex development (DSD) demonstrate a biological contribution to the development of
       gender identity for individuals whose gender identity does not match their assigned sex at birth
       (Steensma et al., 2013). However, parsing out the role of the environment on gender identity
       development is very difficult, even for young people whose parents did not raise them with rigid
       stereotypical gender role expectations, given the fact that the environment remains highly binary
       regarding gender identity and expression in most cultures.
                Adolescence is considered a crucial period for the development of gender identity development
       for gender diverse young people (Steensma, Kreukels, de Vries, & Cohen-Kettenis, 2013). Longitudinal
       research on Dutch clinical follow-up studies on adolescents receiving puberty suppression and/or
       gender affirming hormones after comprehensive assessment demonstrated that none of them refrained
       from pursuing gender affirming surgery years later, suggesting that adolescents seeking treatment
       demonstrate stability with their gender identity over time (Cohen-Kettenis & van Goozen, 1997; de Vries
       et al., 2014; van Goozen, Kuiper, & Cohen-Kettenis, 2005a).
                When extrapolating these conclusions to present-day gender diverse adolescents seeking care.
       one must contextualize the societal changes that have evolved over time as it pertains to transgender
       people. Given the increase in visibility for transgender and gender diverse people, it is important to
       address current influences on social development for young people (Kornienko et al., 2016). One trend
       is that more young people are presenting to gender clinics with gender diverse and gender nonbinary
       presentations (Twist & de Graaf, 2019). Another phenomenon refers to adolescents seeking care who
       have not seemingly expressed gender diversity in their childhood years. One researcher attempted to
       study and describe this phenomenon (Littman, 2019), however the significant methodological
       challenges that exist in the research provide context for the findings: 1) the survey included only parents
       and not the youths' experiences; and 2) the recruitment of parents was drawn from a setting that
       conceptualized treatments for gender dysphoria as inherently pathological. In truth, some who have
       changed their thoughts about their own gender identity have described how social influence was
       relevant in their self-experience of gender during adolescence (Strang et al., 2018; Vandenbussche,
       2021). For a select subgroup of young people, in the context of exploration, social influence may be a
       relevant issue for them. This is neither a new nor surprising concept for clinicians working with




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                           BOEAL_WPATH_020791



                                                                                  4
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 6 of 94




       adolescents, however we emphasize the harms that can arise when these phenomena are prematurely
       labeled based on datasets with substantial sample bias (WPATH, 2018).
               Regardless of what is known about adolescent gender identity development, an individualized
       approach to clinical care is both ethical and necessary. As is the case in all areas of medicine, each study
       has methodological limitations and conclusions drawn from the research cannot and should not be
       universally applied to all adolescents when answering the common parental question about the stability
       of a particular young person's gender identity development. Future research will help advance scientific
       understanding of gender identity development, however there will always be some gaps and these gaps
       should not leave the TGD adolescent without important and necessary care.

       Research evidence
                A key issue in adolescent transgender care is the quality of evidence for effectiveness of gender
       affirming medical treatments. Given the lifelong implications of medical treatment and the young age at
       which they may be started, adolescents, their parents, and care providers should be informed about the
       evidence base. It seems reasonable that decisions to move forward with medical treatments should be
       made carefully. Despite the slowly growing body of evidence on effectiveness of early medical
       intervention, the number of studies is still low compared to outcome studies in adults. Therefore, a
       systematic review regarding outcomes of treatment in adolescents is not possible and we provide a
       short narrative review instead.
                When writing this chapter, there were several longer term (into young adulthood) longitudinal
       cohort follow-up studies that show positive results of early (adolescent) medical treatment, all
       stemming from one Dutch clinic. The findings demonstrate improved psychological functioning and body
       image satisfaction associated with the resolution of gender dysphoria. Most of these studies followed a
       pre post methodological design and compared baseline psychological functioning to outcomes after the
       provision of medical gender affirming treatments. Different studies evaluated different aspects or
       combinations of treatment interventions: 1) gender-affirming hormones and surgeries (Cohen-Kettenis
       & van Goozen, 1997; Smith et al., 2001; Smith et al., 2005), 2) puberty suppression (de Vries et al., 2011)
       or 3) puberty suppression, affirming hormones and surgeries (de Vries et al., 2014). The 2014 long term
       follow-up study is the only study that followed youth from early adolescence (pre-treatment mean age
       of 13.6) until young adulthood (post treatment mean age of 20.7) and was the first study to show that
       gender-affirming treatment enabled transgender adolescents to make age-appropriate developmental
       transitions while living as their affirmed gender, contributing to a satisfactory objective and subjective
       well-being' (de Vries et al., 2014). These were convincing results. However, the question of
       generalizability remains, as it included a select, socially supported small sample (n=SS), all of whom
       experienced childhood gender nonconformity. The participants came from a clinic that uses a
       multidisciplinary approach and provides comprehensive, ongoing assessment and support for gender
       dysphoria and emotional well-being.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                            BOEAL_WPATH_020792



                                                                                   5
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 7 of 94




               Several more recently published longitudinal studies followed a cross sequential study design;
       after baseline measurement, evaluations were conducted at fixed follow up times (e.g. 6/12/24 months
       after baseline). This design results in the evaluation of participants at different stages of their gender
       affirming treatments. Some participants may not have started gender•affirming, medical treatments;
       others have been treated with puberty suppression; while others have started gender affirming
       hormones or even had their gender affirming surgeries (Costa et al., 2015, Becker-Hebly et al., 2020,
       Kuper et al., 2020, Achille et al., 2020, Carmichael et al., 2021). This design makes interpreting the
       outcomes more challenging. Regardless, the data all demonstrate improved or stable psychological
       functioning and body image or treatment satisfaction. Another recent study compared psychological
       functioning of transgender adolescents at baseline and while on puberty suppression with cisgender
       high school peers at two different time point. At baseline the transgender youth demonstrated lower
       psychological functioning than their cisgender peers, while on puberty suppression they demonstrated
       better functioning than their same age peers (van der Miesen et al., 2020).
               Two additional studies investigated how initial mental health treatment is related to post.
       treatment outcomes. In a retrospective chart study Kaltiala et al. (2070) showed that transgender
       adolescents who did well in terms of psychiatric symptoms and functioning before affirming hormones
       were provided, mainly did well during the treatment, while adolescents with more problems at baseline
       had high continued to have these problems. Nieder et al., (2021) demonstrated that transgender
       adolescents who progressed further with desired medical affirming treatments (puberty suppression,
       affirming hormones, affirming surgeries) were more satisfied with their overall treatment (including the
       mental health treatment initially) after a mean duration of two years after baseline. The conclusion is
       that timely gender affirming medical care is important for transgender youth, who represented a
       subgroup of young people that were not excluded from the study due to higher psychiatric acuity.
               Providers may have concern around the possibility that adolescents regret certain decisions they
       make during this period or detransition in the future. There are two studies that report low rates of
       adolescents (1.9% and 3.5%) deciding to stop puberty suppression (Wiepjes et al., 2018, Brik et al.,
       2019). These low percentages come again from Dutch clinics that follow a protocol including careful
       assessment before affirming medical treatment was started and show that it was likely only started in
       those for whom gender incongruence is considered to last into adulthood. At present, no clinical cohort
       studies have yet reported on adolescents who regret or detransition after irreversible affirming
       treatment. Case studies report that there are adolescents who detransition but do not regret initiating
       treatment as they experience the start of treatment as a part of their gender exploration and
       consolidation (Turban, 2018), however this is not substantiated with any longitudinal research. There
       are adolescents who may regret the steps they have taken (Dyer, 2020). Therefore, it is important to
       consider all narratives and patient experiences when assisting families make sense of the existing
       research evidence. So far, very little is known about how many and which adolescents may eventually
       detransition, and providers are advised to discuss this in a collaborative and trusting manner as a
       possible future experience with adolescents and their parents during the planning stages before gender




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                          BOEAL_WPATH_020793



                                                                                 6
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 8 of 94




       affirming medical treatments are started. Also, providers should be prepared to support adolescents
       who detransition. In an interne( convenience sample survey of 237 self-identified detransitioners, 25%
       had medically transitioned before age 18. Many of them expressed strong difficulties finding the help
       that they needed during their detransition process and reported that their detransition was a very
       isolating experience, during which they did not receive enough support (Vandenbussche, 2021).
                So, in conclusion, although the samples are relatively small (n = 22-101) and the time to follow-
       up is varied (6-months — 7 years), the existing research studies all demonstrate improvement in the lives
       of transgender adolescents who receive some form of gender affirming medical treatment and rates of
       regret are very low. The data show that early medical intervention as part of a broader combined
       assessment and treatment approach focusing on gender dysphoria as well as broader general well-
       being, can be effective and helpful for transgender adolescents. These positive findings also justify why
       randomized control trials are deemed unethical since withholding puberty suppression or hormones is
       not without negative effects, apart from being impossible to conduct in a fully blinded way because
       blockers and sex hormones have clear visible effects.

       Ethics and human rights perspective
                Because research evidence on medical affirming treatment for adolescents should not be the
       only leading principle while providing such care, a medical ethics and human rights perspective was also
       considered while formulating the statements. After all, allowing irreversible puberty to progress in
       adolescents who experience gender incongruence is without any question not a neutral act given that it
       may have immediate and lifelong harmful effects for a transgender young person (Giordano, 2009;
       Giordano & Holm, 2020; Kreukels & Cohen-Kettenis, 2011). From a human rights perspective,
       considering gender diversity is a normal variation of human diversity, it is an adolescent's right to
       participate in their own decision making process about their health and lives with access to gender
       health services (Amnesty International, https://www.amnesty.org.uk/press-releases/amnesty-
       international-uk-and-liberty-joint-statement-puberty-blockers).

       Short Summary of Statements and Unique Issues in Adolescence

               These guidelines are designed to account for what is known and what is not known about
       gender identity development in adolescence, the evidence for gender affirming care in adolescence, and
       the unique aspects that distinguish adolescence from other developmental stages.

               Identity Exploration: A defining feature of adolescence is the solidifying of different aspects of
               identity, including gender identity. Statement 2 addresses identity exploration in the context of
               gender identity development. Statement 12B accounts for the length of time that a young
               person experiences and/or expresses a gender diverse Identity in order to make a meaningful
               decision regarding gender affirming care.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                          BOEAL_WPATH_020794



                                                                                  7
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 9 of 94




               Consent and Decision-Making: In adolescence, consent and decision-making require assessing
               the individual aspects of emotional, cognitive, and psychosocial development that occur.
               Statement 12C directly addresses emotional and cognitive maturity and describes the necessary
               components to assessing decision making capacity within an individual context.
               Caregivers/Parent involvement: Adolescents are typically dependent on their
               caregivers/parents in numerous ways, including treatment decisions and consent. Statement 11
               addresses the importance of involving caregivers/parents and the role they play in treatment.
               No set of guidelines can account for every set of individual circumstances on a global scale.

                This chapter should be used in coordination with other relevant chapters throughout the
       Standards of Care. These guidelines are meant to provide a gold standard based on the available
       evidence at this moment in time. While the available evidence for the assessment and treatment of
       gender diverse and transgender adolescents is relatively new (compared to adults), when factoring in
       the collective clinical experience of those working with this population as well as a perspective that
       respects the rights and dignity of transgender adolescents, we believe that these statements provide an
       ethical set of guidelines to assist families in collaborative decision-making.

       References

       Achille, C., Taggart, T., Eaton, N. R., Osipoff, J., Tafuri, K., lane, A., & Wilson, T. A. (2020). Longitudinal
                impact of gender-affirming endocrine Intervention on the mental health and well-being of
                transgender youths: preliminary results. International Journal of Pediatric Endocrinology, 2020,
                8.https://doi.org/10.1186/s13633-020-00078-2

       Aitken, M., Steensma, T. D., Blanchard, R., VanderLaan, D. P., Wood, H., Fuentes, A., Spegg, C.,
               Wasserman, L., Ames, M., Fitzsimmons, C. L., Leef, J. H., Lishak, V., Reim, E, Takagi, A., Vinik, J.,
               Wreford, J., Cohen-Kettenis, P. T., de Vries, A. L, Kreukels, B. P., & Zucker, K. J. (2015).Evidence      f, Form ate& Dutch {Belgium)
               for an altered sex ratio in clinic-referred adolescents with gender dysphoria. The journal of
               sexual medicine, 12(3), 756-763. httos://doi.org/10.1111/ism.12817
       American Psychiatric Association. (2013). Diagnostic and statistical manual of mental disorders (5th ed).
               Washington, DC: Author.,                                                                                  f,I.i—
                                                                                                                              mtuttall: Dutch (Belgium)
       Arnoldussen, M., Steensma, T.D., Popma, A., van der Miesen, A.I.R.,Twisk, J.W.R., & de Vries, A.L.C.
               (2020). Re-evaluation of the Dutch approach: are recently referred transgender youth different            fFortuatted: Dutch (Belgium)
               compared to earlier referrals? European Child & Adolescent Psychiatry, Advance online
               publication. Doi: 10.1007/s00787-020-01691-5.
       Becker-Hebly, I., Fahrenkrug, S., Campion, F., Richter-Appelt, H., Schulte-Markwort, M., & Barkmann, C.
               (2020). Psychosocial health in adolescents and young adults with gender dysphoria before and
               after gender -affirming medical interventions: a descriptive study from the Hamburg Gender




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                BOEAL_WPATH_020795



                                                                                      8
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 10 of 94




               Identity Service. European child & adolescent psychiatry, 10.1007/s00787-020-01640-2. Advance
               online publication. https://doi.org/10.1007/s00787-020-01640.2

       Berenbaum S. A. (2018). Evidence needed to understand gender identity: Commentary on Turban &
              F.hrensaft (2018). Journal of childpsychology and psychiatry, and allied disciplines, 59(12),1244-
              1247. https://doi.org/10.1111/jcpp.12997

       l3rik, T., Vrouenraets, I.., de Vries, M. C., & Hannema, S. E. (2020).Trajectories of Adolescents Treated           [Formatted: Dutch (Belgium)
                  with Gonadotropin-Releasing Hormone Analogues for Gender Dysphoria. Archives ofSexual
                  Behavior, 49(7), 2611-2618. https://doi.ore/10.1007/s10508-020-01660-8

       Carmichael, P., Butler, G., Masic, U., Cole, T. J., De Stavola, B. L., Davidson, S., Skageberg, E. M., Khadr, S.,
              & Viner, R. M. (2021). Short-term outcomes of pubertal suppression in a selected cohort of 12 to
              15 year old young people with persistent gender dysphoria in the UK. PloS one, 16(2), e0243894.
              https://doi.org/10.1371/lournalpone.0243894

       Clark, T. C., Lucassen, M. F., Bullen, P., Denny, S. J., Fleming, T. M., Robinson, E. M., & Rossen, F. V.
                (2014). The health and well-being of transgender high school students: results from the New
                Zealand adolescent health survey (Youth'12). The Journal of adolescent health : official
                publication of the Society for Adolescent Medicine, 55(1), 93-99.

       Cohen-Kettenis, P. T., & van Goozen, S. H. (1997).,Sex reassignment of adolescent transsexuals: a follow-           (Formatted:Dutch (Belgium)
              up study. Journal of the American Academy of Child and Adolescent Psychiatry, 36(2), 263-271.
              https://doi.ore/10.1097/00004583-199702000-00017

       Coleman, E., Bockting, W., Botzer, M, Cohen-Kettenis, P., G. DeCuypere G., Feldman, J., Fraser, L,
             Green, J. , Knudson, G., Meyer, W.J., Monstrey, S., Adler, R. K., Brown, G.R., Devor, A.H., Ehrbar,
             R., Ettner, R., Eyler, E., Garofalo, R., Karasic, D.H., Lev, A.I., Mayer, G., Meyer-Bahlburg, H., Hall,
             B.P., Pfaefflin, F., Rachlin, K., Robinson, B., Schechter, L. 5., Tangpricha, V., van Trotsenburg, M.,
             Vitale, A., Winter, S., Whittle, S., Wylie , K.R. & Zucker, K. (2012). Standards of Care for the
             Health of I rarissexual, Trarisgender, and Gender- Nonconforming People, Version 7,
             internationalJournal of Transgenderism, 13(4),165-232, DOI: 10.1080/15532739.2011.700873

       Costa, R., Dunsford, M., Skageberg, L., Holt, V., Carmichael, P., & Colizzi, M. pony Psychological
               Support, Puberty Suppression, and Psychosocial Functioning in Adolescents with Gender
               Dysphoria. The Journal ofSexual Medicine, 12(11), 2206-2214.
               https://doi.org/10.1111/jsm.13034




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                 BOEAL_WPATH_020796



                                                                                      9
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 11 of 94




       de Graaf, N. M., Giovanardi, G., Zitz, C., & Carmichael, P. (2018). Sex Ratio in Children and Adolescents
              Referred to the Gender Identity Development Service in the UK (2009-2016). Archives of sexual
              behavior, 47(5), 1301-1304. https://doi.orp./10.1007/s10508 018-12049

       de Vries, A. L., McGuire, J. K., Steensma, T. D., Wagenaar, E. C., Doreleijers, T. A., & Cohen-Kettenis, P. T.
               (2014). Young adult psychological outcome after puberty suppression and gender reassignment.
               Pediatrics, 134(4), 696-704. doi: 10.1542/peds.2013-2958                                                 (Formatted: Dutch (Belgium)

       de Vries, A. L., Steensma, T. D., Doreleijers, T. A., & Cohen-Kettenis, P. T. (2011). Puberty suppression in
               adolescents with gender identity disorder: A prospective follow-up study. The Journal of Sexual
               Medicine, 8(8), 2276-2283. https://doi.org/10.1111/i.1743-6109.2010.01943.x

       Dick, B., Ferguson, J., Baltag, V., Krishna, B. & Saewyc, E. (2014) Health for the World's Adolescents: A
                second chance in the second decade. World Health Organization.
                https://apps.who.int/adolescent/second-decade/

       Dyer C. (2020a). Children are "highly unlikely' to be able to consent to taking puberty blockers, rules
                High Court. BMJ (Clinicalresearch ed.), 371, m4699. https://doi.org/10.1136/bmi.m4699

       Eisenberg, M. E., Gower, A. L., McMorris, B. I., Rider, G. N., Shea, G., & Coleman, E. (2017). Risk and
              Protective Factors in the Lives of Transgender/Gender Nonconforming Adolescents. The Journal
              of adolescent health : officialpublication of the Society for Adolescent Medicine, 61(4), 521-526.
              https://doi.org/10.1016/j.jadohealth.2017.04.014

       Gardner, M., and Steinberg, L. (2005) Peer Influence on Risk Taking, Risk Preference, and Risky Decision
              Making in Adolescence and Adulthood: An Experimental Study. Developmental Psychology,
              41(4), 625-635. doi: 10.1037/0012.1649.41.4.625.

       Giordano, S. (2008). Lives in a chiaroscuro. Should we suspend the puberty of children with gender
              identity disorder? Journal ofMedical kthics, 34(8), 580 584.
              https://doi.oig/10.1136/ime.200/.021091

       Giordano, S., & Holm, S. (2020). Is puberty delaying treatment 'experimental treatment'?. International          ( Formatted: Duch {Belgium)
              Journal of Transgender Health, 21(2),113-121.                                                               Formatted: Eatch :Belzium)
              pttps://doi.orpi10.1080/26895269.2020.1747764                                                               Formatted: Duch (Belgium
                                                                                                                        [Formatted:Dutch (Belgiuni
       Grootens-Wiegers, P., Hein, I., van den Broek, J., de Vries, M. (2017). Medical decision-making in
              children and adolescents: developmental and neuroscientific aspects. 8MC Pediatrics. 17:120.
              DOI: 10.1186/s12887-017-0869




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020797



                                                                                   10
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 12 of 94




       Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Hannema, S. E., Meyer, W. J., Murad, M. H.,
             Rosenthal, S. M., Safer, J. D., Tartgpricha, V., & T'Sjoen, G. G. (2017). Endocrine Treatment of
             Gender-Dysphoric/Gendei              uent Persons: An Endocrine Society Clinical Practice
             Guideline. The Journal of ClinicalEndocrinology and Metabolism, 102(11), 3869-3903.
               htto:thicsi.or011?1PLic.1017.9.1§54
       Kaltiala, R., Bergman, H., Carmichael, P., de Graaf, N. M., Egebjerg Rischel, K., Frisen, L., Schorkopf, M.,
                Suomalainen, I & Waehre, A. (2020).;ftme trends in referrals to child and adolescent gender           [Fonnalted: Dutch (Belgium)
                identity services: a study in four Nordic countries and in the UK. Nordic journal of
                psychiatry, 74(1), 40-44. https://doi.org/10.1080/08039488.2019.1667429

       Kaltiala-Heino, R., Sumia, M., Tyolajarvi, M., & Lindberg, N. (2015). Two years of gender identity service
                for minors: Overrepresentation of natal girls with severe problems in adolescent development.
                Child and adolescent psychiatry and mental health, 9. doi: 10.1186/513034-015.0042-y

       Kaltiala, R., lil.111O, E., Tyolajarvi, M., & Suomalainen, L. (2020). Adolescent development and
                psychosocial functioning after starting cross-sex hormones for gender dysphoria. Nordic journal
                ofpsychiatry, 74(3), 213-219. https://doLorg/10.1080/08039488.2019.1691260

       Kidd, K. M., Sequeira, G. M., Douglas, C., Paglisotti, T., Inwards-Breland, D. J., Miller, E., & Coulter, R.
                (2021). Prevalence of Gender-Diverse Youth in an Urban School District. Pediatrics, 147(6),
                e2020049823. https://doi.org/10.1542/peds.2020-049823

       Kornienko, O., Santos, C., Martin, C., & Granger, K. (2016). Peer Influence on Gender Identity
              Development In Adolescence. DevelopmentalPsychology. 52(10), 1578-1592.
              http:/dx.doi.org/10.1037/dev0000200

       Kreukels, B. P., & Cohen-Kettenis, P. T. (2011). Puberty suppression in gender identity disorder: the
               Amsterdam experience. Nature Reviews. Endocrinology, 7(8), 466-472.
               https://dui.org/10.1038/nrendo.2011./8

       Kuper, L E., Stewart, S., Preston, S., Lau, M., & Lopez, X. (2020). Body Dissatisfaction and Mental Health
               Outcomes of Youth on Gender-Affirming Hormone Therapy. Pediatrics, 145(4), e20193006.
               https://doi.orp✓10.1542/peds.2019 3006

       Leibowitz, S., & de Vries, A. L. (2016).,Gender dysphoria in adolescence. Internationalreview of                Formatted: Dutch (Belgium)
              psychiatry(Abingdon, England), 28(1), 21-35. https://doi.org/10.3109/09540261.2015.1124844




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020798



                                                                                     11
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 13 of 94




       Littman, L. (2018). Parent reports of adolescents and young adults perceived to show signs of a rapid
              onset of gender dysphoria. PLoS ONE, 13(8), e0202330. tittps://dui.uie/10.1371/iouni
              al.pone.0202330.

       Nieder, T. O., Mayer, T. K., Hinz, S., Fahrenkrug, S., Herrmann, L., & Becker-Hebly, I. (2021). Individual
               Treatment Progress Predicts Satisfaction With Transition-Related Care for Youth With Gender
               Dysphoria: A Prospective Clinical Cohort Study. The journal of sexual medicine, 18(3), 632-645.
               https://doi.ore/10.1016/j.isxm.7070.12.010

       McCallion, S., Smith, S., Kyle, H., Shaikh M.G., Gordon, W., Kyriakou, A. (2021). An appraisal of current
               service delivery and future models of care for young people with gender dysphoria. CurJ
              Pediatr. PMID: 33855617. Online ahead of print. DOI: 10.1007/s00431-021-04075

       Perry, D. & Pauletti, R. (2011). Gender and Adolescent Development. Journal of Research on
               Adolescence. 21(1), 61-74. Doi: 10.1111/j.1532-7795.2010.00715.x

       Sanders, R. (2013). Adolescent Psychosocial, Social, and Cognitive Development. Pediatrics in Review.
              34;354. DOI: 10.1547/pir.34-8-354.

       Smith, Y. L., van Goozen, S. H., & Cohen-Kettenis, P. T. (2001). Adolescents with gender identity disorder       Formatted: Dutch (Belgium)
               who were accepted or rejected for sex reassignment surgery: a prospective follow-up
               study. Journal of the American Academy of Child and Adolescent Psychiatry, 40(4), 472-481.
               https://doi.org/10.1097/00004583-200104O30-00017,                                                    • • fliormaitted: Dutch (Belgium)

       Smith, Y. L., Van Goozen, S. H., Kuiper, A. J., & Cohen-Kettenis, P. T. (2005). Sex reassignment: outcomes
               and predictors of treatment for adolescent and adult transsexuals. Psychological
               medicine, 35(1), 89-99. https://doi.nrp/10.1017/s0033291704002776
       Sorbara JC, Chiniara, IN, Thompson 5, Palmert, M. (2020). Mental Health and Timing of Gender
               Affirming Care. Pediatrics ;,146(4) :e20193600.                                                          Formatted: Dutch (Belgium)
       Steensma, T. D., Kreukels, B. P., de Vries, A. L., & Cohen- Kettenis, P. T. (2013). Gender identity
               development in adolescence. I lormones and Behavior, 64, 288-297.
       Steinberg L. (2004). Risk taking in adolescence: what changes, and why? Ann N Y Acad ScL 1021:51-8.

       Stephen B. Levine, MD (Chairperson), George R. Brown, MD, Eli Coleman Ph.D., Peggy T. Cohen-
              Kettenis., Judy Van Maasdam, MA, Friedemann Pfifflin, MD, Leah C. Schaefer, Ed.D. (1998) The
              Standards of Care for Gender Identity Disorders Fifth Edition Harry Benjamin International
              Gender Dysphoria Association Dusseldorf: Symposion Publishing.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020799



                                                                                  12
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 14 of 94




       Strang, J. F., Powers, M. D., Knauss, M., Sibarium, E., Leibowitz, S. F., Kenworthy, L . . . Anthony, L G.
               (2018). "They thought it was an obsession": Trajectories and perspectives of autistic transgender
                and gender-diverse adolescents. I Autism Dee Disord, 48(12), 4039-4055. doi:10.1007/s10803-
               018-3723-6

       Turban, J. L., Carswell, J., & Keuroghlian, A. S. (2018). Understanding Pediatric Patients Who Discontinue
                Gender-Affirming Hormonal Interventions. JAMA pediatrics, 172(10), 903-904.
                https://doi.org/10.1001/jamapediatrics.2018.1817
       Twist, J., & de Graaf, N. (2019). Gender diversity and non-binary presentations in young people
                attending the United Kingdom's National Gender Identity Development Service. Clin Child
                Psycho,Psychlatry,24(2):277-290. Doi: 10.1177/1359104518804311.                                           [Formatted: Dutch (Belgium)

       Van Leijenhorst L, Zanolie K, Van Meel CS, Westenberg PM, Rombouts SA, Crone EA. (2010). What
               motivates the adolescent? Brain regions mediating reward sensitivity across adolescence. Cereb
               Cortexv20:61-9.                                                                                            [Formatted: Dutch (Belgium)

       van der Miesen, A., Steensma, T. D., de Vries, A., Bos, H., & Popma, A. (2020). Psychological Functioning
               in iransgender Adolescents Before and After Gender-Affirmative Care Compared With
               Cisgender General Population Peers. The Journalof adolescent health : officialpublication of the
               Society for Adolescent Medicine, 66(6), 699-704.
               htt-2511.491.2r211PtlolgiigtpinAtIk?P11.12•Plg
       Vandenbussche E. (2021). Detransition-Related Needs and Support: A Cross-Sectional Online
              Survey. Journal of homosexuality, 1-19. Advance online publication.
              https://doi.org/10.1080/00918369.2021.1919479
       W. Meyer, III (Chairperson), W. Bockting, P. Cohen-Kettenis, E. Coleman, D. DiCeglie, H. Devor,
              L. Gooren, J. Joris Hage, S. Kirk, B. Kuiper, D. Laub, A. Lawrence, Y. Menard, J. Patton, L. Schaefer,
              A. Webb, C. Wheeler. (2005) The Standards of Care for Gender Identity Disorders Sixth Version,
              Harry Benjamin International Gender Dysphoria Association, International Journal of
              Transgenderism, Volume 5(1)
       Wang, Y., Yu, H., Yang, Y., Drescher, J., Li, R., Yin, W., Yu, R., Wang, S., Deng, W., Jia, Q., Zucker, K. J., &
              Chen, R. (2020). dental Health Status of Cisgender and Gender-Diverse Secondary School                      I Formatted: Dutch (Belgium)
              Students in China. !AMA network open, 3(10), e2022796.                                                      ( Formatted: Dutch (Belgium)
              https://doi.org/10.1001/jamanetworkopen.2020.22796

       Wiepjes, C. M., Nota, N. M., de Blok, C., Klaver, M., de Vries, A., Wensing-Kruger, S. A., de Jongh, R. T.,
              Bouman, M. B., Steensma, T. D., Cohen-Kettenis, P., Gooren, L, Kreukels, B., & den I leijer, M.
              (2018). The Amsterdam Cohort of Gender Dysphoria Study (1972-2015): Trends In Prevalence,




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                BOEAL_WPATH_020800




                                                                                    13
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 15 of 94




             Treatment, and Regrets. The Journalof Sexual Medicine, 15(4), 582-690.
             httus://doi.oie/10.1016/i.isxm.2018.01.016

       WPATH Position Statement (2018). WPATH Position on "Rapid Onset Gender Dyspharia (ROGD)."
             https://www.wpath.org/media/cms/Documents/Public%20Policies/2018/9_Sept/WPAT H1620Po
             sition%20on%20Rapid-Onset%20Gender%20Dysphoria_R-4-2018.pdf

       Summary of Statements
              Statement
        1     We advise that clinicians working with gender diverse adolescents:
                  1.      Must be licensed by their statutory body, and hold a Postgraduate degree or its
                          equivalent in a relevant clinical field to this role granted by a nationally accredited
                          statutory institution.
                  2.      should receive theoretical and evidenced-based training and develop expertise in
                          general child, adolescent, and family mental health across the developmental
                          spectrum.
                  3.      should receive training and have expertise in gender identity development, gender
                          diversity in children and adolescents, the ability to assess capacity to
                          assent/consent, and general knowledge of gender diversity across the life span.
                  4.      should receive training and develop expertise in autism spectrum disorders and
                          other neurodiversity experiences or collaborate with a developmental disability
                          expert when working with autistic/neuro-diverse, gender diverse adolescents.
                  5.      should continue professional development on gender diverse children, adolescents
                          and families
        2     We advise that clinicians working with gender diverse adolescents facilitate the exploration
              and expression of gender openly and respectfully such that no one particular identity is
              favored.

        3     We advise that clinicians working with gender diverse adolescents undertake a comprehensive
              biopsychosocial assessment for adolescents presenting with gender identity related concerns
              seeking medical/surgical transition-related care in a collaborative and supportive manner.

        4     We advise that clinicians work with families, schools, and other relevant settings in order to
              promote acceptance of gender diverse expressions of behavior and identities of the
              adolescents.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                          BOEAL_WPATH_020801



                                                                                14
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 16 of 94




        5    We recommend against efforts aimed at trying to change an adolescent's gender identity and
             lived gender expression to become more congruent with sex assigned at birth, also referred to
             as reparative and conversion therapy .

        6    We advise that clinicians should inform the gender diverse and transgender adolescents about
             the health implications and safety aspects of chest binding or genital tucking interventions.

        7    We advise that providers should consider prescribing menstrual suppression agents for
             adolescents experiencing gender incongruence from menses who may not be ready or desire
             to pursue other medical affirming treatments, as well as those who wish to have Itestostraronel.        Commented...I, When this statement appears In the
                                                                                                                     teal, it is worded slightly differently, and I think more dearly
                                                                                                                     than it is here in the "summary cif Statements". Here is the
        8    We advise that clinicians should maintain an ongoing relationship with the gender diverse and           version In the subsequent text, which, I believe reads more
             transgender adolescent and any relevant caregivers in order to support the adolescent in their          deariy (with respect to testosterone): We advise that
             decision-making throughout the duration of puberty suppression treatment, hormonal                      providers should consider prescribing menstrual
             treatment, and gender related surgery until transition to adult care.                                   suppression agents for adolescents experiencing gender
                                                                                                                     incongruence from menses who may not desire or be
                                                                                                                     reedy to pursue other medical affirming treatments.
        9    We advise that clinicians should involve relevant disciplines, including mental health and              including testosterone.1
             medical professionals, in order to reach a decision as to whether puber I y suppression,                Ihe'eim e, I suggest changing what is listed in the Summary
             hormone initiation and/or gender related surgery for gender diverse and transgender                    Aso d matches what is subsequently listed in the text.
             adolescents is appropriate, and remains indicated throughout the course of treatment until
             transition to adult care.

        10   We advise that clinicians working with trans and gender diverse adolescents requesting gender
             affirming medical or surgical treatments inform of the reproductive effects that includes the
             potential loss of fertility and options to preserve fertility in the context of the youth's stage of
             pubertal development prior to the initiation of treatment

        11   We advise that when gender affirming medical or surgical treatments are indicated for
             adolescents clinicians working with trans and gender diverse adolescents involve
             parent(s)/guardian(s) in the assessment and treatment process, unless their involvement is
             determined to be harmful or unnecessary to the adolescent.

             The following recommendations are made regarding the requirements for gender affirming
             medical and surgical treatment, induding facial surgery
        12   We advise that clinicians assessing trans and gender diverse adolescents should only
             recommend gender affirming medical or surgical treatments requested by the patient when:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                             BOEAL_WPATH_020802



                                                                                 15
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 17 of 94




        A   The adolescent meets the diagnostic criteria of gender incongruence as per the ICD-11 where a
            diagnosis is necessary to access health care. In countries which have not implemented the
            latest lCD other taxonomies may be used but efforts should be undertaken to utilize the latest
            ICD as soon as is practicably possible.
        B   There is well-documented (according to local context) evidence of persistent gender
            incongruence or gender nonconformity / diversity of several years.
        C   The adolescent demonstrates the emotional and cognitive maturity required to provide
            informed consent/assent for the treatment.
        D   The adolescent mental health concerns (if any) that may interfere with_diagnostic clarity,
            capacity to consent and/or gender affirmative medical treatment have been addressed.
        E   The adolescent has been informed of the reproductive effects that includes the potential loss
            of fertility and options to preserve fertility have been discussed in the context of the
            adolescent's stage of pubertal development.
        F   The adolescent has reached Tanner 2 stage of puberty for pubertal suppression.

        G    The adolescent is:
            14 years and above for hormone treatment (oestrogens or androgens), unless there are              Commented I        ): From         -While age restrictions are
                                                                                                              outlined for access to gender affirming care, the authors
            significant, compelling reasons to take an individualized approach, considering the factors       discuss thee
            unique to the adolescent treatment frame.                                                         mprecision defining the lower and upper borders of
            15 years and above for chest masculinization; unless there are significant, compelling reasons    adolescence. There is also the interchangeable use¶
              o take an individualized
                        • - • —        approach, considering
                                                       •    • - efactors unique
                                                                             •    to theadolescent            of youth and adolescent. This leaves interpretation wide
                                                                                                              open for the recommendations for 'caret and!
            treatment frame.
                                                                                                              'comprehensive' assessments — will this be up to individual
            1G years and above for breast augmentation, facial surgery (including rhinoplasty, tracheal       orovidersto interpret these!
             shave, and genioplasty) as part of gender affirming treatment; unless there are significant,     recommendations for their 23 year old patient (who some
            compelling reasons to take an Individualized approach, considering the factors unique to the      may consider in adolescence) or? How do well
            adolescent treatment frame.                                                                       know when to follow recommendations for adolescents vs
                                                                                                              adults? Your chapter also states that It is!
            1 / and above fur metoidioplasty , orchidectorny, vaginoplasty, arid hysterectomy arid ()onto-    designed to support families to make decisions. this can be
            orbital remodeling as part of gender affirming treatment unless there are significant,            used in court when a parent sues their legal!
            compelling reasons to take an individualized approach, considering the factors unique to the      adult adolescent who made their own decisions. Thus, a
            adolescent treatment frame.                                                                       c' ear statement to differentiate family based¶
                                                                                                              and ,na;vidual based decisions is necessary.
            18 years or above for phalloplasty, unless there are significant, compelling reasons to take an
            individualized approach, considering the factors unique to the adolescent treatment frame.        Commented                1 personally don't this there Ise
                                                                                                              need for this.
            The adolescent had at least 12 months of gender affirming hormone therapy, or longer if
                                                                                                              Commented               "at least 12 months of gender
            required to achieve the desired surgical result for gender-affirming procedures including,
                                                                                                              affirming hormone therapy or longer" seems quite vague
            Breast augmentation, Orchiectomy, Vaginoplasty, Hysterectomy, Phalloplasty metoidioplasty         when referring to "or longer". For example, recent studies
            and facial surgery as part of gender affirming treatment unless hormone therapy Is either not     suggest there can be continued breast enlargement after 3+
            desired or Is medically contraindicated.                                                          years of estrogen Re, soft could be considered prematureto
                                                                                                              recommend breast augmentation, e.g., after only 12 mon*"




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                     BOEAL_WPATH_020803



                                                                            16
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 18 of 94




       STATEMENTS

       Statement 1:
       We recommend that clinicians working with gender diverse adolescents:
           1.      Must be licensed by their statutory body, and hold a Postgraduate degree or its equivalent
                   in a relevant clinical field to this role granted by a nationally accredited statutory institution.
           2.      should receive theoretical and evidenced-based training and develop expertise in general
                   child, adolescent, and family mental health across the developmental spectrum.
                                                                                                                                  •
           3.      should receive training and have expertise in gender identity development, gender diversity           ' Commented                I understand why this is being said,
                   in children and adolescents, the ability to assess capacity to assent/consent, and general              but it is a bit weak—Making a commitment is not equivalent
                   knowledge of gender diversity across the life span.                                                     co actually accomplishing something. In current times,
                                                                                                                           where there is easier access to needed care—e.g. evaluation
           4.      should receive training and develop expertise in autism spectrum disorders and other                    by a qualified MHP by telehealth,I would hesitate to imply
                   neurodiversity experiences or collaborate with a developmental disability expert when                   that simply making commitment' is any guarantee that
                                                                                                                           the patient will be provided with appropriate and quality
                   working with autistic/neuro-diverse, gender diverse adolescents.
                                                                                                                           care.
           5.      should continue professional development on gender diverse children, adolescents and                   Formatted: Highlight
                   families
                                                                                                                            This statement seems to be focused on mental health
                                                                                                                            nroviders yet uses the word clinician in the first,
       Youth who are transgender and gender diverse should be provided evidence-based gender care from                      sentence. Primary care pediatricians and family medicine
       mental health providers who are trained to work with adolescents and families. Other chapters in these               providers can also receive this training and!
       standards of care describe these criteria for professionals for gender care in more detail (see Child                should be included In this statement. Just because a person
                                                                                                                            is transgender does not mean that they haver
       Chapter; Adult Mental Health Chapter). Professionals working with adolescents should understand what
                                                                                                                            to be evaluated by a mental health provider- that's
       is and is not known regarding adolescent gender identity development, and how this differs from that of              pathologization of an identity - however, if thee
       adults and prepubertal children.                                                                                     have significant mental health symptoms/stressors etc.
                                                                                                                            (which many do), then of course refer to mentalf
       When access to professionals trained in child and adolescent development is not possible, clinicians                 health, just like with other youth. Also, I agree with Steve R's
                                                                                                                            comment to make the 'commitment toll
       should make a commitment to obtaining training on adolescentidevelopmentl, including gender identity :            ', obtaining training' stronger.
       development:. Similarly, considering the degree to which autistic/neurodiverse transgender youth
                                                                                                                          Commented               the world clinidane will be
       represent a substantial portion of youth served in gender clinics globally, clinicians should seek                 substituted by health professionals in all the chapter so this
       additional training on autism and the unique elements of care that autistic gender diverse youth may               will be sorted -




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                  BOEAL_WPATH_020804



                                                                                   17
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 19 of 94




       require (Strang et al., 2016). If these qualifications are not possible, then consultation and collaboration
       with a provider who specializes in autism and neurodiversity is advised.

       Strang, J. F., Meagher, H., Kenworthy, L., de Vries, A. L., Menvielle, E., Leibowitz, S., Pleak, R. R.         (Formatted: [Mich (Belgium)
               (2016). Initial Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
               Dysphoria or Incongruence in Adolescents. Journal of Clinical Child & Adolescent Psychology, 1-
                11. doi:10.1080/15374416.2016.1228462


       Statement 2:
       We advise that clinicians working with gender diverse adolescents facilitate the exploration and
       expression of gender openly and respectfully such that no one particular identity is favored.

                Adolescence is a developmental period that involves physical and psychological changes
       characterized by individuation and the transition to independence from caregivers (Berenbaum, Beltz,
       Corley, 2015; Steinberg, 2009). It is a period during which young people may explore different aspects
       of identity, including gender identity.
                Adolescents differ regarding the degree to which they explore and commit to aspects of their
       identity (Meeus et al., 2012). For sortie adolescents, the pace to achieving consolidation of identity is
       fast, while for others it is slower. For some adolescents, physical, emotional, and psychological
       development occur on the same general timeline, while for others, there are certain gaps between
       these aspects of development. Similarly, there is variation in the timeline for gender identity
       development (Katz-Wise et al, 2017). For some young people, gender identity development is a clear
       process that starts in early childhood, while for others pubertal changes contribute to one's experience
       of themselves as a particular gender (Steensma et al., 2013), and for many others a process may begin
       well after pubertal changes finish. Given these variations, there is no one particular pace, process, or
       outcome that can be predicted for an individual adolescent seeking gender affirming care.
                I herefore, clinicians working with adolescents should prioritize supportive environments that
       simultaneously respects an adolescent's affirmed gender identity and also allows the adolescent to
       openly explore evolving gender needs, should they change over time.

       Berenbaum, S., Belt?, A., & Corley R. (2015). The Importance ofPuberty for Adolescent Development:
              Conceptualization and Measurement. Advances in Child Development and Behavior, Volume 48,
              53-92.http://dx.doi.org/10.1016/bs.acdb.2014.11.002
       Katz-Wise, S., Budge, S., Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B., Perez-Brumer, A., &
              Leibowitz, S. (2017). Transactional pathways of transgender identity development in
              transgender and gender non-conforming youth and caregiver perspectives from the Trans Youth
              Family Study, International Journal of I ransgenderism, doi: 10.1080/15532739.2017.1304312




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020805



                                                                                  18
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 20 of 94




       Meeus, W., van de Schoot, R., Keijsers, L., Branje, S. (2012) Identity Statuses as Developmental
               Trajectories: A Five-Wave Longitudinal Study in Early-to-Middle and Middle-to-Late Adolescents.
                Youth Adolescence. 41:1008-1021. DOI 10.1007/$10964-011-9730-y,
       Steensma TD, Kreukols BP, de Vries AL. Cohen-Kettenis PT. Gender identity development in adolescence.
               Norm Behay. Jul 2013;64(2):288-97. doi:10.1016/j.yhbeh.2013.02.020
       Steinberg, L. (2009). Should the science of adolescent brain development inform public policy?
               American Psychologist, 64 (8), 739-750. doi.org/10.1037/0003-066x.64.8.739

       Statement 3:
       We recommend that clinicians working with gender diverse adolescents undertake a comprehensive
       blopsychosoclal assessment for adolescents presenting with gender identity related concerns seeking
       medical/surgical transition-related care in a collaborative and supportive manner.

                Given the many ways identity may unfold during adolescence, we recommend using a
       comprehensive assessment, conducted by a qualified mental health clinklahl„ to guide treatment and               Commented                           We can agree that an
       optimize outcomes. The assessment process should be approached collaboratively with the adolescent               assessment needs to be done, but it should not be a
                                                                                                                        universal¶
       and their caregiver(s), which is described in more detail in statement 11. An assessment should occur
                                                                                                                        requirement theta° trans youth need a mental health
       prior to any medical interventions being considered (e.g., puberty blocking medication, gender affirming         clinician to assess them, that is the definition all
       hormones, surgeries).                                                                                            psychopathologinticri. Further, when discussing
                There are many different gender identity trajectories that youth may experience. For example,           assessment throughout the chapter, the words cautiousil
       some youth will realize they are transgender or more broadly gender diverse and pursue medical                   and careful appear several times, but we are still lacking
                                                                                                                        meaningful guidance nn what conetimicsil
       interventions to align their bodies with their identity. For others, their gender exploration will help them     'cautious' and 'careful' which serves to make providers
       better understand themselves, but will not result in affirming a gender different from what was assigned         nervous and hesitant.
       at birth or involve the use of medical interventions. With the ongoing sociocultural developments              (7Co e— nnant               This is a good point, please he
       regarding the definitions of gender, youth may increasingly present with a range of identities and ways          aware that the word "diniciane will be change to "health
       of describing their experiences and gender related needs (Twist & de Graaf, 2019), which may change as           professionals" in all the chapters. The recommendations
       they mature and develop. Utilizing a comprehensive assessment for each adolescent helps to better                that passed Delphi was for clinicians but the text starts here
                                                                                                                        with mental health dinicians, can you please try to resolve
       understand their unique needs and individualize their care.                                                      this?
                Careful assessment was part of the most robust longitudinal study that exists thus far on gender
                                                                                                                                                           this Is criticniiy important
       diverse adolescents pursuing gender affirming medical interventions. In this study, which followed               and should be cross-referenced to similar text in the
       transgender youth into adulthood, positive psychological and quality of life outcomes were found for             hormone chapter in the section pertaining to adolescent
       those who met the criteria to physically transition. However, it is critical to note that all of these youth     care.
       experienced childhood gender dysphoria and were required to undergo a comprehensive assessment
       over time prior to each medical intervention to help determine whether they would likely benefit from
       the intervention (de Vries & Cohen. Kettenis, 2012; de Vries, McGuire, Steensma, Wagenaar, Doreleijers
       & Cohen-Kettenis, 2014). In other words, it was a very specific sample and cannot be generalized to all
       gender diverse adolescents seeking medical interventions. Furthermore, the assessment itself has not
       been part of any study, so we cannot conclude its unique effect on long-term outcomes.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                               BOEAL_WPATH_020806



                                                                                  19
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 21 of 94




                Delivery of healthcare and access to specialists varies globally. Thus, adaptations to the
       assessment process and flexibility may be necessary, as long as all of the information needed to guide
       treatment, as outlined below, is obtained. In some cases, a more extended assessment process may be
       particularly useful for youth with more complex presentations (e.g., complicating mental health
       histories, co-occurring autism spectrum characteristics [Strang et al., 2018), absence of childhood
       gender incongruence). Given the unique cultural, financial, and geographical factors that exist for
       specific populations, providers should design assessment models that are flexible and which allow for
       appropriately timed care to as many young people as possible. At the same time, it is important to
       remember that treating youth outside of the assessment framework (e.g., with limited or no
       assessment) currently has no empirical support and therefore carries the risk that the decision to start
       gender affirming medical interventions may not be in the long-term best interest of the young person.
                The assessment should include a thorough clinical interview with the adolescent alone, the
       caregiver(s) alone, and the adolescent and caregiver(s) together. Additionally, psychometrically
       validated psychosocial and gender measures can also be used to provide additional information.
                We advise developing a positive and trusting working alliance with the adolescent and
       caregiver(s) that is collaborative and aims to support the young person in making a fully informed
       decision about their body and their health. A process that takes caregiver(s) viewpoints into account and
       recognizes the value of their input provides important information for understanding the adolescent and
       the context in which they live and function. Additionally, involving the young person's caregiver(s) in the
       assessment process often helps them come to better understand their adolescent's struggles and
       gender-related needs, thereby allowing them to be more affirming and supportive. Research shows that
       gender diverse youth do best when supported by their caregiver(s) (see statement 11/12; Ryan,
       Huebner, Diaz, & Sanchez, 2009).
                The comprehensive assessment for gender diverse youth seeking gender affirming medical
       interventions should ensure that all requirements for the medical intervention being sought are fulfilled
       (see statements 12A-126), including the following domains (obtained from both the youth and
       caregivers[s]).

               Gender Identity Development (see 12 A, B): Assessment related to how the young person came
               to realize that their body and/or sense of self did not align with their assigned gender at birth is
               important, along with how this aspect of the young person's identity development intersects
               with their understanding of their life more broadly, including their sexuality and social context.
               Ensuring that the young person is able to distinguish these aspects of themself is important.
               Attention to social media/internet and peer influence related to a young person's declaration of
               a transgender identity and timing of gender dysphoria is also important to understand, as well
               as cognitive rigidity around gender roles and expression.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                            BOEAL_WPATH_020807



                                                                                  20
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 22 of 94




               Social Development and Support; intersectionality (4, 11): Assessment of family relationships
               and dynamics, including support or lack of support regarding the young person's gender
               identity, and how these dynamics influence an adolescent's understanding of self should occur.
               Exploration of one's social support outside of the family (friends, online community, school
               climate, etc.), including specific aspects of a young person's social development such as areas of
               support, rejection, and broad influence is also important. Understanding culture/religion-
               specific expectations around gender roles and gender expression, and how these intersect with
               the young person's gender identity should occur. Assessment of gender minority stress at home,
               school, and the larger community, along with the young person's resilience characteristics and
               strengths, including their communication and self-advocacy skills, is also important.

               Diagnostic Assessment of Possible Co-Occurring Mental Health and/or Developmental
               Concerns (12 CI): A diagnostic assessment for any co-existing mental health diagnoses and broad
               functioning, both past and present, will identify if any other experiences and characteristics
               might be impacting a young person's awareness of self and/or their decision making capacity.
               Assessment should include consideration of the following: depression, anxiety,
               abuse/bullying/teasing history, trauma, autism spectrum disorder, eating disorder concerns, and
               other diagnoses that might interfere with obtaining developmentally-informed, informed
               consent.

               Assessing Capacity for Decision Making (12C): A conversation' about the medical intervention(s)       Commented..., Afe there more spedfic actions
               desired, including an assessment of the adolescent's understanding of the effects of the              that can be taken (beyond a "conversation") to assess the
                                                                                                                     ability°, the adolescent to provide informed
               intervention, helps to ensure the expectations are realistic and will minimize the possibility of
                                                                                                                     assent/consent? i see that thisIs presented in a more
               later ilisappointmeng It is important to assess a young person's understanding of the various         focused way in Statement 12C—Perhaps the reader should
               potential gender pathways, including the possibility that the young person's gender identity and      be directed to that statement here.
               gender-related need might develop and change over time (e.g., shift from a binary to non-binary      ,Consmented.M.pt             regret,,
                                                                                                                                .
               identity or vice-versa; de/retransition). This includes normalizing the possibility that all
               trajectories can happen for anyone, and discussing with the young person how they might
               hypothetically navigate a different trajectory later if their gender-related needs change in the
               future (e.g., regarding medical interventions, with impacts that cannot be undone).

       de Vries, A. L. C., & Cohen-Kettenis, P. T. (2012).Clinical management of gender dysphoria in children       ( Formatted, Dutch {Belgium)
               and adolescents: The Dutch approach. Journal of Hornosexuahty, 59(3), 301-320.
               doi:10.1080/00918369.2012.653300

       de Vries, A. L. C., McGuire, I. K., Steensma, T. D., Wagenaar, E C. F., Doreleijers, T. A. H., & Cohen-
               Kettenis, P. T. (2014). Young adult psychological outcome after puberty suppression and gender
               reassignment. Pediatrics, 134(4), 1-9. doi:10.1542/peds.2013-2958




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020808



                                                                                21
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 23 of 94




       Ryan, C., Huebner, D., Diaz, R. M., & Sanchez, J. (2009). Family rejection as a predictor of negative health
               outcomes in white and Latino lesbian, gay, and bisexual young adults. Pediatrics, 123(1), 346-
               352. doi:10.1542/peds.2007-3524

       Strang, J. F., Meagher, H., Kenworthy, L., de Vries, A. L., Menvielle, E., Leibowitz, S., & Pleak, R. R.
               (2016). Initial Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
                Dysphoria or Incongruence in Adolescents. Journal of Clinical Child & Adolescent Psychology, 1-
                11. doi:10.1080/15374416.2016.1228462

       Twist, 1. & de Graaf, N. M. (2019). Gender diversity and non-binary presentations in young people
                attending the United Kingdom's national gender identity development service, Clinical Child
                Psychology andPsychiatry, 24 (2),193-198.


       Statement 4:
       We recommend that clinicians work with families, schools, and other relevant settings in order to
       promote acceptance of gender diverse expression of behavior and identities of the adolescent.                         Commented NM: Perhaps I missed It, but the term
                                                                                                                             'gender-affirming model of care is increasingly being used
                                                                                                                             .n the context of adolescence and sounds very much like
                Multiple studies and related expert consensus support implementation of approaches that
                                                                                                                             what I highlighted in yellow. Should this term be mentioned
       promote acceptance and affirmation of gender diverse youth across all settings, including families,                   and discussed, given its increasing use in the professional
       schools, healthcare, and all other organizations and communities with which they interact (e.g, Pariseau              literature and in the lay press —clarifying what is meant (and
       et al., 2019; Russell et al., 2018; Simons et al., 2013; Toomey et al., 2010; Travers et al., 2012).                  what Is not meant) with the term "gender-altrming model
       Acceptance and affirmation are accomplished through a range of approaches, actions, and policies that                 of care?
       we recommend be enacted across the various relationships and settings in which a young person exists                  Commented IIIIMIIIIIN -Agree with                       l
       and functions. Examples of acceptance and affirmation of gender diversity and exploration that can be               ' suggestinn to include the gender affirmative model of care,
                                                                                                                             it is curious as to why,
       implemented by family, staff, and organizations, as organized by Pariseau and colleagues (2019) and            .--, this model is left out of the chapter. The APA GAM book also
       others include:                                                                                                       has several nonbinary and trans authors,
                                                                                                                             which are curiously not included in this chapter.,
           1. Actions that are supportive of youth drawn to engaging in gender-expansive (e.g.,                              Keo-Melee, C. E., fl Ehrensaft, D. E (2018). The gender
                                                                                                                             affirmative model: An interdisciplinary approach,
              nonconforming) activities and interests,
                                                                                                                             to supporting transgender
           2. Communications that are supportive when youth express their experiences about their gender
                                                                                                                             Formatted: Highlight
              and gender exploration,
           3. Use of the youth's asserted name/pronouns,
           4. Support for youth wearing clothing/uniforms, hairstyles, and items (e.g., jewelry, makeup) they
              feel affirm their gender,
           5. Positive and supportive communication with youth about their gender and gender concerns,




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                  BOEAL_WPATH_020809



                                                                                  22
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 24 of 94




           6. Education for people in the young person's life (e.g., family members, healthcare providers,
               social support networks), as needed, about gender diversity issues, including how to advocate
               for gender diverse youth in community, school, healthcare and other settings,
           7. Support for gender diverse youth to connect with communities of support (e.g., LGBTQ groups,
               events, friends),
           8. Provision of opportunities to discuss, consider, and explore medical treatment options when
               indicated,
           9. Anti-bullying policies that are enforced.
           10. Inclusion of nonbinary experiences in daily life, reading materials, and curricula (e.g., books,
               health and sex education classes, essay topics assigned moving beyond the binary, LGBTQ and
               ally groups),
           11. Gender inclusive facilities which the youth can readily access without segregation from non-
               gender diverse peers (e.g., bathrooms, locker rooms).

                 We recommend healthcare professionals work with parents, schools, and other
       organizations/groups to promote acceptance and affirmation because acceptance and affirmation are
       associated with fewer negative mental health and behavioral symptoms and more positive mental
       health and behavioral .functioningi ((Day et al., 2015; de Vries et al., 2016; Greytak et al., 2013; Pariseau   Commented I            I: Again, this sounds very much like
       et al., 2019; Peng et al., 2019; Russell et al., 2018; Simons et al., 2013; Taliaferro et al, 2019; Toomey et   my understanding of the term "gender-affirming model of
                                                                                                                       care", and I wonder If this term should be mentioned here
       al., 2010; Travers et al., 2012). Russell and colleagues (2018) found improvement increases with more
                                                                                                                       and explained—see my comments, above.
       acceptance and affirmation across more settings (e.g., home, school, work, and friends). Rejection by
       family, peers, and school staff (e.g., intentionally calling name and pronoun youth dues not identify with,
       not acknowledging affirmed gender identity bullying, harassment, verbal and physical abuse, poor
       relationships, rejection for being trans/gender diverse, eviction) was strongly linked to negative
       outcomes such as anxiety, depression, suicidal ideation, suicide attempts, and substance use (Grossman
       et at., 2005; Klein and Golub; 2016; Pariseau et al., 2019; Peng et al., 2019; Reisner et al., 2015; Roberts
       et al., 2013). We recommend against behaviors that are considered rejecting towards a young person's
       affirmed gender or gender exploration from family members, peers, and other adults (e.g., school staff),
       because negative symptoms increase with increased levels of rejection and continue into adulthood
       (e.g., Roberts et al., 2013).

       Neutral or indifferent responses to a youth's gender diversity and exploration (e.g., letting a child tell
       others their chosen name but not using the name, not telling family or friends when the youth wants
       them to disclose, not advocating for the child about rejecting behavior from school staff or peers, not
       engaging or participating in other supports such as psychotherapists and support groups) have also been
       found to have negative consequences, such as increased depression symptoms (Pariseau et al., 2019).
       We recommend against ignoring a youth's gender questioning or delaying tending to the gender
       exploration. We also recommend professionals recognize the youth need individualized approaches,




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020810




                                                                                  23
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 25 of 94




       support, and pacing of exploration over time and across domains and relationships. Youth may need
       help coping with the tension of tolerating others' processing/adjusting to an adolescent's identity
       exploration and changes (e.g., Kuper et al., 2019). We recommend collaborating with parents and others
       as they process their concerns and feelings and educate themselves about gender diversity as such
       processes may not be rejection or neutrality, but may be efforts to develop attitudes and gather
       information that foster acceptance (e.g., Katz-Wise et al., gol.                                           • ' Commented                           Two other ideas dial aie
                                                                                                                      ieft out of this chapter are trauma .3formed care - whit-
                                                                                                                      critical to¶
                                                                                                                      approaching this population— and the ethical imperative for
       Day, J. K., Perez-Brumer, A., & Russell, S. T. (2018). Safe Schools? Transgender Youth's School                providers to actively advocate for youth's'
                Experiences and Perceptions of School Climate. Journal of youth and adolescence, 47(8), 1731-         access to care and address misrepresentations of research
                1742. https://doi.org/10.1007/s10964.018-0866-x                                                       and clinical care practices.

       de Vries AL, Steensma TD, Cohen-Kettenis PT, VanderLaan DP, Zucker KJ. Poor peer relations predict
               parent and self.reported behavioral and emotional problems of adolescents with gender
               dysphoria: a cross -national, cross clinic comparative analysis. European Child & Adolescent
               Psychiatry. 2016 Jun;25(6):579-88. doi: 10.10071s00787-015-0764-7.

       Grossman, A.H., D'Augelli, A.R., Howell, Ti,,
                                                 . & Hubbard, S. (2005). Parent' Reactions to Transgender
             Youth' Gender Nonconforming Expression and Identity, Journal of Gay & Lesbian Social
             Services.18(1):3-16, DOI:10.1300/1041v18n01_02

       Greytak, E.A., Kosciw, J.G., & Boesen, M.J. (2013). Putting the "T" in "Resource": The Benefits of LGBT-
              Related School Resources for Transgender Youth. Journal of LGBT Youth. 10 (1.2), 45-63.
              doi.org/10.1080/19361653.2012.718522

       Katz-Wise, S. L., Budge, S. L., Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B., Perez-Brumer, A., &
              Leibowitz, S. (2017). Transactional Pathways of Transgender Identity Development in
              Transgender and Gender Nonconforming Youth and Caregivers from the Trans Youth Family
              Study. The international Journal of Transgenderism, 18(3), 243-263.
              doi.org/10.1080/15532739.2017.1304312

       Klein A, Golub SA. Family Rejection as a Predictor of Suicide Attempts and Substance Misuse Among
                Transgender and Gender Nonconforming Adults. LGBT Health. 2016 Jun;3(3):193-9. doi:
                10.1089/Igbt.2015.0111.

       Kuper, L, Lindley, L., & Lopez, X. (2019) Exploring the Gender Development Histories of Children and
               Adolescents Presenting for Gender Affirming Medical Care. Clinical Practice in Pediatric
               Psychology. 7, 3, 217-228. http://dx.dol.org/10.1037/cpp0000290




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                             BOEAL_WPATH_020811



                                                                                  24
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 26 of 94




       Pariseau, E.M., Chevalier, L., Long, K.A., Clapham, R., Edwards-Leeper, L., & Tishelmari, A.C. (2019). The
               Relationship Between Family Acceptance-Rejection and Transgender Youth Psychosocial
               Functioning. Clinical Practice in Pediatric Psychology, Vol. 7, No. 3, pp. 267-277.
               hitps;/109i,pts/10.1P321.5ac!PPP2.21
       Peng K, Zhu X, Gillespie A. et al.,5elf-reported Rates of Abuse, Neglect, and Bullying Experienced by        Formatted: Dutch
               Transgender and Gender-Nonbinary Adolescents in China. JAMA Netw Open.
               2019;2(9):e1911058. doi:10.1001/jamanetworkopen.2019.11058

       Reisner, S. L., Greytak, E. A., Parsons, J. T., & Ybarra, M. L. (2015). Gender minority social stress in
               adolescence: disparities in adolescent bullying arid substance use by gender identity. Journal of
               sex research, 52(3), 243-256. https://doi.ore/10.1080/00224499.2014.886321

       Roberts AL, Rosario M, Slopen N, Calzo JP, Austin SB. Childhood gender nonconformity, bullying
               victimization, and depressive symptoms across adolescence and early adulthood: an 11-year
              longitudinal study. Journal of the American Academy of Child & Adolescent Psychiatry. 2013
               Feb;52(2):143-52. doi: 10.1016/j.jaac.2012.11.006.

       Russell S T , Pollitt, A.M., U G., Grossman, A.H. (2018) Chosen Name Use Is Linked to Reduced
               Depressive Symptoms, Suicidal Ideation, and Suicidal Behavior Among Transgender Youth,
               Journal of Adolescent Health 63(4):503-505. doi: 10.1016/j.jadohealth.2018.02.003. Epub 2018
               Mar 30.

       Simons L, Schrager SM, Clark LF, Belzer M, Olson J. Parental support and mental health among
              transgender adolescents. J Adolesc Health. 2013 Dec;53(6):791-3. doi:
              10.1016/j.jadohealth.2013.07.019.

       Taliaferro, L., Mcmorris, B., Rider, G. N., & Eisenberg, M. (2019). Risk and Protective factors for Self-
               I larm in a Population-Based Sample of Transgender Youth, Archives of Suicide Research 23(2)
               DOI:10.1080/13811118.2018.1430639

       Travers, R., Bauer, G., Pyne, J., Bradley, K., Gale, L., & Papadimitriou, M. (2012). Impacts of Strong
               Parental Support for Trans Youth: A Report Prepared for Children's Aid Society of Toronto and
               Delisle Youth Services. Trans Pulse Project. https://transpulsoproject:ca/wp:
               conterisbolge         12/10/Impacts7of-Strong-parental-5upport-for-Trans7yopthAFINAL.pdf.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                        BOEAL_WPATH_020812




                                                                                  25
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 27 of 94




       Toomey, R., Ryan, C., Diaz, R. M., Card, N. A., & Russell, S. T. (2010). Gender-Nonconforming Lesbian,
             Gay, Bisexual, and Transgender Youth: School Victimization and Young Adult Psychosocial
             Adjustment. Developmental Psychology. 46. 1580-9. 10.1037/a0020705.

       Gender-Nonconforming Lesbian, Gay, Bisexual, and Transgender Youth:
       School Victimization and Young Adult Psychosocial Adjustment
       Gender-Nonconforming Lesbian, Gay, Bisexual, and Transgender Youth:
       School Victimization and Young Adult Psychosocial Adjustment

       Statement 5:
       We recommend against efforts aimed at trying to change an adolescent's gender identity and lived
       gender expression to become more congruent with sex assigned at birth, also referred to as
       reparative and conversion therapy.                                                                              Commented                            -In the section on gender
                                                                                                                       identity development, I notice a very relevant paper on this
                                                                                                                       topic- written biell
                Some healthcare providers, secular or religious organizations, and/or rejecting families may
                                                                                                                       nonbinary and trans psychologists is missing1
       make efforts to thwart gender identity exploration and expression, such as choosing not to use the              Kuper. L E., Lindley,L, & Lopez, X. (2019). Exploring the
       youth's identified name and pronouns or restricting self-expression in clothing and hairstyles. These           gender development histories of children and¶
       disaffirming behaviors typically aim to reinforce views that a young person's gender identity/expression        adolescents presenting for gender affirming medical care.
       must match the gender associated with the sex assigned at birth. Activities and approaches (sometimes           Clinical Practice in Pediatric Psychology, 7131,5
                                                                                                                       217.1
       referred to as "treatments") aimed at trying to change a person's gender identity and expression to             In this same section there is a reference to the extremely
       become more congruent with the sex assigned at birth have been attempted, but these approaches                  problematic ROGD study which should be 20185
       have not resulted in changes in gender identity (Craig et al., 2017; Green et al., 2020). We recommend          not 2019, making it seem like there are two sides to this
       against such efforts because they have been found ineffective and are associated with increases in              debate and it is possible for ROGD to be a realS
                                                                                                                       thing, listing only 2 of the many major critiques. The
       mental illness and poorer psychological functioning (Craig et al., 2017; Green et al., 2020; Turban et al.,
                                                                                                                       reference to the relevant WPATH's clear posit;ring
       2020; SOC8 Adolescent Statement 4).                                                                             statement about the ROGD idea is obscured in the last
                Much of the research on "conversion therapy" and "reparative therapy" has actually studied             sentence— and the position Is riot de:idyl
       efforts to change gender expression (masculinity or femininity), conflating sexual orientation with             presented. This creates a wishy-washy picture that will
       Gender identity (APA, 2009; Burnes et al., 2016; Craig et al., 2017). Some of these efforts have targeted       easily be or .sinterpreted. Also, the sentence that1
                                                                                                                       begins within truth' is odd, I don't understand why you
       both gender identity and expression (AACAP, 2018). Conversion/reparative therapy efforts have been              would need to include that as an opening¶
       linked to increased anxiety, depression, suicidal ideation, suicide attempts, and healthcare avoidance          phrase — as .f we are tiding something and now here's the
       (Craig et al., 2017; Green et al., 2020; Turban et al., 2020). Some of these studies have been criticized for   truth? Lastly, very well-done references from'
       the methodologies used and conclusions reached (e.g., D'Angelo et al., 2020), however this should not           trans authors are left outil
                                                                                                                       Rester, A. J. (2020). Methodological critique of Littman's
       detract from the importance of emphasizing that a priori efforts to change a person's identity is ethically
                                                                                                                       (2018) parental-respondents accounts dill
       not sound. As both secular and religion.based gender identity/expression change efforts have been               "rapid-onset gender dysphuria". Archives of Sexual
       associated with negative psychological functioning that endures into adulthood (Turban et al., 2020), in        Behavior, 49111, 61-66.1
       addition to the larger ethical reasons that should drive the respect of gender diverse identities, we           Ashley, F. (2070). A critical commentaryon 'rapid-onset
       recommend against any type of conversion or change efforts.                                                     gender dysphuria'. The Sociologicalil
                                                                                                                       Review, 68(4), 779-799.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020813



                                                                                  26
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 28 of 94




               It is important to note that therapeutic exploration of gender diversity, and potential factors
       driving a young person's experience and report of gender incongruence, is not considered a reparative
       therapy effort in the context of supporting an adolescent with self-discovery, so long as there is no a priori
       goal to change or promote one particular gender identity or expression (AACAP, 2018; see SOC8
       Adolescent Statement 2). To ensure these explorations are therapeutic, we recommend employing
       affirmative responses to gender exploration, such as those identified in SOC8 Adolescent Statement 4.
               In summary, efforts to change a person's gender identity or gender expression or to thwart their
       gender exploration, are harmful and do not result in changes in gender identity. Efforts to change or
       thwart gender identity and/or expression are considered conversion therapy and are unethical as a
       practice. We strongly recommend against use of any type of conversion therapy.


       American Academy of Child and Adolescent Psychiatry (AACAP) Sexual Orientation and Gender Identity
              Issues Committee. (2018). Conversion Therapy Policy Statement. Retrieved from:
              https://www.aacap.org/AACAP/Policy Statements/2018/Conversion Therapy.aspx.

       American Psychological Association (2009). Report of the American Psychological Association Task Force
              on Appropriate Affirmative Responses to Sexual Orientation. Retrieved from: https://www.apa.
              org/pi/Igbt/resources/therapeutic-response.pdf

       American Psychological Association (2021). Resolution on Gender Identity Change Efforts.
              https://www.apa.org/about/policy/iesolution-gender-identity-c hange-effor ts.pdf

       Burnes, T. R., Dexter, M. M., Richmond, K., Singh, A. A., & Cherrington, A. (2016). The experiences of
               transgender survivors of trauma who undergo social and medical transition. Traumatology,
               22(1), 75-84.

       Craig, S., Austin, A., Rashidi, M., Adama, M. (2017). Fighting for Survival: The experiences of lesbian, gay,
                bisexual, transgender, and questioning students in religious colleges and universities. Journal of
                Gay & Lesbian Social Services. Doi:10.1080/10538720.2016.1260512

       D'Angelo, R., Syrulnik2, E., Ayad, S., Marchiano, L., Kenny, D.T., & Clarke, P. (2020). One Size Does Not Fit
              All: In Support of Psychotherapy for Gender Dysphoria. Archives of Sexual Behavior, 50:7-16
              https://doi.org/10.1007/s10508 020 01844 2

       Green, A. E., Price-Feeney, M., Dorison, S. H., & Pick, C. J. (2020). Self-reported conversion efforts and
              suicidality among US LGBTQ youths and young adults, 2018. American journal of public health,
              110(8),1221- 1227.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                              BOEAL_WPATH_020814



                                                                                   27
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 29 of 94




       Substance Abuse and Mental Health Services Administration. (2015). Ending conversion therapy:
              Supporting and affirming LGBTQyouth. HHS Publication No.(SMA) 15-4928.

       Turban, J.L., Beckwith, N., Reisner, S.L., Keuroghlian, A.S. (2020). Association Between Recalled Exposure
               to Gender Identity Conversion Efforts and Psychological Distress and Suicide Attempts Among
              Transgender Adults. JAMA Psychiatry, 77(1), 68-76. doi:10.1001/jamapsychiatry.2019.2285



       Statement 6
       We suggest that clinicians should inform the gender diverse and tronsgender adolescents about the
       health Implications and safety aspects of chest binding or genital tucking interventions.                     ( 'Erlllll mite:1=1M                 Another iiidlidarfilt:
                                                                                                                     5, AteMert,  although I find It odd to refer to our
                                                                                                                     community's embodiment practIcesl
                Gender diverse and transgender youth may experience distress related to chest and genital
                                                                                                                     as interventions as if the field of medicine created them for
       anatomy. Practices such as chest binding, chest padding, genital tucking and genital packing are              us. that's doesn't hit quite right. Onell
       reversible, non-medical interventions that may help alleviate this distress (Olson-Kennedy,                   :inpoita at typo to change: "Genital tucking is the practice of
       2018; Deutsch 2016; l'ranscare BC; Callen-Lorde). It is important to assess distress related to physical      oositioning the penis and testes so that they!)
       development or anatomy, educate youth about potential non medical interventions to address this               are not visible tinder clothing." I would say they will
                                                                                                                     certainly be visible under clothing so you may11
       distress, and address use and safety of these interventions.                                                  consider rewording to "...practice of posit ion:ng the penis
                                                                                                                     and resins to rr•dece the nat ward avoaranre¶
                 Chest binding involves the compression of the breast tissue to create a flatter appearance of the   of a genital bulge."
       chest. Studies suggest that up to 87% of transmasculine patients report a history of binding (Peitzmeier,
       2017; Jones. 2015). Binding methods may include the use of commercial binders, sports bras, layering of
       shirts, layering of sports bras, or using elastics or other bandages (Peitzmeier, 2017). Currently most
       youth report learning about binding practices from online communities comprised of peers (Julian,
       2019). Providers can play an important role in ensuring that youth receive accurate and reliable
       information about the potential benefits and risks of chest binding. Additionally, providers can counsel
       patients on safe binding practices arid monitor for potential negative health effects. While there are
       potential negative physical impacts of binding, youth who bind report many benefits including increased
       comfort, improved safety, and lower rates of misgendering (Julian, 2019). Common negative health
       Impacts of chest binding in youth include back/chest pain, shortness of breath, and overheating (Julian,
       2019). More serious negative health impacts such as skin infections, respiratory infections, and rib
       fractures are uncommon, but have been associated with chest binding in adults (Peitzmeier, 2017). If
       binding, youth should be advised to use only those methods that are considered safe for binding—such
       as binders specifically designed for the gender diverse population —to reduce the risk of serious negative
       health effects. Methods that are considered unsafe for binding include the use of duct tape, ace wraps,
       and plastic wrap as these can cause restriction in blood flow, skin damage, arid restricted breathing. If
       youth report negative health impacts of chest binding these should ideally be addiessed by a gentile!




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020815



                                                                                 28
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 30 of 94




       affirming medical provider with experience working with transgender and gender diverse
       youth. Many youth who bind may desire chest masculinization surgery in the future (Olson-Kennedy,
       2018).
                Genital tucking is the practice of positioning the penis and testes so that they are not visible
       under clothing. Methods of tucking include tucking the penis and testes between the legs or, tucking the
       testes inside the inguinal canal and pulling the penis back between the legs. Typically, genitals are held
       in place by underwear or a gaff, a garment that may be made or purchased. Limited studies are
       available on the specific risks and benefits of tucking in adults, and none in youth. Previous studies that
       have demonstrated that tight undergarments are associated with decreased sperm concentration and
       motility; elevated scrotal temperatures can be associated with poor sperm characteristics and
       theoretically genital tucking could affect spermatogenesis and fertility (Marsh 2019) though no
       definitive studies exist. Further research is needed on specific benefits and risks of tucking in youth.


       UCSF Transgender Care, Department of Family and Community Medicine, University of California San
              Francisco. Guidelines for the Primary and Gender-Affirming Care of Transgender and Gender
              Nonbinary People; 2nd edition. Deutsch MB, ed. June 2016.
              (https://transcare.ucsf.edu/guidelines) Last Accessed April 2021

       Callen Lorde Safer Tucking:http://callen-lorde.org/graphics/2018/09/IIOTT-Sater-Tucking Final.pdf. Last
               accessed December 2020

       Callen Lorde Safer Binding: http://callen lorde.orghtiaphics/2018/09/Safer Binding 2018 FINAL.pdf.
               Last accessed December 2020

       TransCare BC:hqPIEWWW&tIsa,caltransc,?rebc/care-support/transiticipingibOd-Pac05k-pad
       Last accessed December 2020

       Jones, T., A. D. P. de Bolger, T. Dune, A. Lykins, and G. Hawkes. 2015. female-to-Male (ItM)
               Transgender People's Experiences in Australia: A National Study. Cham: Springer International
               Publishing.

       Peitzmeier S, Gardner I, Weinand 1, Corbel A, Acevedo K. Health impact of chest binding among
              transgender adults: a community-engaged, cross sectional study. Cult Health Sex. 2017
              Jan;19(1):64.75. doi: 10.1080/13691058.2016.1191675. Epub 2016 Jun 14. PMID: 27300085.

       Olson-Kennedy J, Warus J, Okonta V, Belzer M, Clark LF. Chest Reconstruction and Chest Dysphoria in
              Transmasculine Minors and Young Adults: Comparisons of Nonsurgical and Postsurgical Cohorts.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                           BOEAL_WPATH_020816



                                                                                 29
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 31 of 94




               JAMA Pediatr. 2018 May 1;172(5):431-436. doi: 10.1001/jamapediatrics.2017.5440. PMID:
               29507933; PMCID: PMC5875384.

       Jarrett BA, Corbet AL, Gardner IH, Weinand JD, Peitzmeier SM. Chest Binding and Care Seeking Among
                Transmasculine Adults: A Cross. Sectional Study. Transgend Health. 2018 Dec 14;3(1):170-
                178. doi: 10.1089/trgh.2018.0017. PMID: 30564633; PMCID: PMC6298447.

       Julian JM, Salvetti B, Held JI, Murray PM, Lara-Rojas L, Olson-Kennedy J. The Impact of Chest Binding in
               Transgender and Gender Diverse Youth and Young Adults. J Adolesc Health. 2020 Oct 26:51054-
               139X(20)30582-6. do': 10.1016/j.jadohealth.2020.09.029. Epub ahead of print. PMID:
               33121901.

       Marsh C, McCracken M, Gray M, Nangia A, Gay J, Roby KF. Low total motile sperm in transgender
              women seeking hormone therapy. J Assist Reprod Genet. 2019;36(8) h39.1648.
              doi:10.1007/s10815.019 01504.y


       Statement 7: We advise that providers should consider prescribing menstrual suppression agents for
       adolescents experiencing gender incongruence from menses who may not desire or be ready to pursue
       other medical affirming treatments, including testosterone.

               When discussing options with gender diverse youth around menstrual-suppressing medications,
       providers should engage in shared decision making, use gender-inclusive language (e.g. asking patients
       which terms they utilize to refer to their menses, reproductive organs, and genitalia) and perform
       physical exams that are approached in a sensitive, gender-affirmative manner (Bonnington et al., 2020;
       Krempasky et al., 2020). There is no formal research on how menstrual suppression may impact gender
       dysphoria. However, the use of menstrual suppression can be an initial intervention to allow for further
       exploration of gender-related goals of care and/or prioritization of other mental health care, especially
       for those who experience a worsening of gender dysphoria from unwanted uterine bleeding (see
       Statement 12D, (Mehringer & Dowshen, 2019)). A detailed menstrual history and evaluation for any
       underlying menstrual disorders should be performed prior to implementing menstrual-suppressing
       therapy (Carswell & Roberts, 2017). As part of the discussion of menstrual-suppressing medications,
       consideration for desire for contraception and how effective menstrual-suppressing medications are as
       methods of contraception also needs to be considered (Bonnington et al., 2020). A variety of menstrual
       suppression options, such as combined estrogen. progestin medications, oral progestins, depot progestin
       and IUDs should be offered to allow for individualized treatment plans within the context of availability,
       cost and insurance coverage, contraindications and side effect profile (Kanj et al., 2019).




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                          BOEAL_WPATH_020817



                                                                                30
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 32 of 94




                Options for combined oral contraception include different combinations of ethinyl estradiol,             Formatted: Dutch (Nrghcrlands)....
       with ranging doses, and different generations of progestins (Pradhan & Gomez-Lobo, 2019). Lower-dose
       ethinyl estradiol components of combined oral contraceptive pills are associated with increased
       breakthrough uterine bleeding. Continuous combined oral contraceptives may be used to allow for
       continuous menstrual suppression, as can delivered as transdermal or vaginal ring options. Progestin-
       only hormonal medication options may be desired, especially in transmasculine or non-binary youth
       who do not desire estrogen-containing medical therapies, are actively growing, and/or in patients at risk
       for thromboembolic events or other contraindications to receiving estrogen (Carswell & Roberts, 2017).
       Progestin-only hormonal medications include oral progestins, depo-medroxyprogesterone injection,
       etonogestrel implant and levonorgestrel intrauterine device (Schwartz et al., 2019). Progestin-only
       hormonal options vary in terms of efficacy in achieving menstrual suppression and have lower rates of
       achieving amenorrhea than combined oral contraception options (Pradhan & Gomez-Lobo, 2019).
       Clinicians should not make assumptions regarding the method of administration as some transmasculine ,       r   r Commented MR These are statement based On
       youth may desire vaginal rings or IUD implants (Akgul et al., 2019). Hormonal medications require                I review articles.I would suggest to cross ref to the endo
                                                                                                                        I chapter for the clinical studies to trarsgender youth.
       monitoring for potential mood lability and/or depressive effects; however, the benefits and risks of
       untreated menstrual suppression in the setting of gender dysphoria should be evaluated on an
       individual basis.
                The use of GnRH analogue may also result in menstrual suppression however it is recommended
       that gender diverse youth meet the eligibility criteria (as outlined in Statement 12) before consideration
       of this medication solely tor this purpose (Carswell & Roberts, 2017; Pradhan & Gomez-Lobo, 2019).
       Finally, menstrual-suppression medications may be indicated as an adjunctive therapy for breakthrough
       uterine bleeding that may occur while on exogenous testosterone or as a bridging medication with
       awaiting menstrual suppression with testosterone therapy. With the use of exogenous testosterone as a
       gender-affirming hormone, menstrual suppression is typically achieved in the first six months of therapy
       (Ahmad & leinung, 7017). However, it is vital that adolescents be counseled that ovulation and                    Commrni 1           i Till i5           'ICC
       therefore, pregnancy, is still possible, even in the setting of amenorrhea as this is a common                    focuses on the use of med.cat.or s youts rot -eady /rot
                                                                                                                         wishing testosterone
       misconception (Gomez et al., 2020; Kanj et al., 2019).

       Ahmad, S., & Leinung, M. (2017). The Response of the Menstrual Cycle to Initiation of I Iormonal Therapy
             in Transgender Men. Transgender Health, 2(1), 176-179.
             https://doi.org/10.1089/trgh.2017.0023

       Akgul, S., Bonny, A. E., Ford, N., Holland-Hall, C., & Chelvakumar, G. (2019). Experiences of Gender
               Minority Youth With the Intrauterine System. The Journal of Adolescent Health: Official
               Publication of the Society for Adolescent Medicine, 65(1), 32-38.
               https://doi.org/10.1016/Hadohealth.2018.11.010




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                BOEAL_WPATH_020818




                                                                                 31
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 33 of 94




       Bonnington, A., Dianat, S., Kerns, J., Hastings, J., Hawkins, M., De Haan, G., & Obedin-Maliver, .I. (2020).
              Society of Family Planning clinical recommendations: Contraceptive counseling for transgender
              and gender diverse people who were female sex assigned at birth. Contraception, 102(2), 70-82.
              https://doi.org/10.1016/j.contraception.2020.04.001

       Carswell, J. M., & Roberts, S. A. (2017). Induction and Maintenance of Amenorrhea in Transmasculine
              and Nonbinary Adolescents. Transgender Health, 2(1)495-201.
              https://doi.org/10.1089/trgh.2017.0021

       Gomez, A. M., Da, L., Ratliff, G. A., Crego, P. I., & Hastings, J. (2020). Contraceptive Beliefs, Needs, and
              Care Experiences Among Transgender and Nonbinary Young Adults. The Journal of Adolescent
              Health: OfficialPublication of the Society for Adolescent Medicine, 67(4), 597-602.
              https://doi.org/10.1016/j.jadohealth.2020.03.003

       Kanj, R. V., Conard, L. A. E., Corathers, S. D., & Trotman, G. E. (2019). Hormonal contraceptive choices in
                a clinic-based series of transgender adolescents and young adults. The InternationalJournal of
                Transgenderism, 20(4), 413-120. https://doi.org/10.1080/15532739.2019.1631929

       Krempasky, C., Harris, M., Abern, L., & Grimstad, r. (2020). Contraception across the transmasculine
             spectrum. American Journal of Obstetrics and Gynecology, 222(2), 134-143.
             https://doLorg/10.1016/j.ajog.2019.07.043

       Mehringer,l., & Dowshen, N. L (2019). Sexual and reproductive health considerations among
             transgender and gender-expansive youth. Current Problems in Pediatric and Adolescent Health
             Care, 49(9), 100684. https://doi.org/10.1016/j.cppeds.2019.100684

       Pradhan, S., & Gomez-Lobo, V. (2019). Hormonal Contraceptives, Intrauterine Devices, Gonadotropin-
              releasing Hormone Analogues and Testosterone: Menstrual Suppression in Special Adolescent
              Populations. Journal of Pediatric and Adolescent Gynecology, 32(55), S23-529.
              https://doi.org/10.1016/j.jpag.2019.04.007

       Schwartz, A. R., Russell, K., & Gray, B. A. (2019). Approaches to Vaginal Bleeding and Contraceptive
              Counseling in Transgender and Gender Nonbinary Patients. Obstetrics and Gynecology, 134(1),
              81-90. https://doi.org/10.1097/AOG.0000000000003308


       Statement 8:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                            BOEAL_WPATH_020819



                                                                                    32
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 34 of 94




       We advise that clinicians should maintain an ongoing relationship with the gender diverse and
       transgender adolescent and any relevant caregivers in order to support the adolescent in their
       decision-making throughout the duration of puberty suppression treatment, hormonal treatment, and
       gender related surgery until transition to adult care.

                Youth who receive gender affirming medical interventions should maintain an ongoing
       relationship with their multidisciplinary team for the duration of treatment, ideally through their              (  JJJJJ wilted                                      on the
       transition to adult care. Treatment typically involves providers from multiple disciplines through the            sSue of the statement using the more broad 'clinician' and
                                                                                                                        then the text using¶
       adolescent years, as specific needs often change over time. The adolescent and their families/caregivers
                                                                                                                        the more specific 'mental health professional' plus lack of
       can greatly benefit from an ongoing relationship with a supportive multidisciplinary team who                    empirical support for the text of this'll
       approaches the young person's care individually and with a developmental lens. This ongoing supportive           statement.
       relationship can assist with not only gender specific topics, but also other aspects of psychosocial
       development that may be more complex to navigate due to the young person's gender diversity.
                Gender .specialized mental health professionals, in particular, play an important role in
       continuity of care for young people through their gender transition (see statement 1). These providers
       typically have the skills and longer appointment times, compared to their medical colleagues, to address
       the range of topics related to care that often arise for gender diverse youth. There are several reasons
       why ongoing involvement with a mental health professional is important. First, gender specialized
       mental health providers often assist adolescents during a time that is characterized by many changes
       (emotional development, social development, brain development) (Steinberg, 2009). Therefore,
       decisions related to interventions should be approached with an appropriate developmental framework,
       which is well understood by child/adolescent mental health providers. Second, many of these youth
       experience mental health struggles (Sorbara et. al, 2020), which may or may not be directly tied to their
       gender dysphoria, yet may impact upcoming treatment decisions (see statement 12D). Third, work with
       mental health clinicians may assist adolescents in considering fertility implications of starting hormone
       treatment (Chen, et al., 2018; see statements 10 and 12E). Fourth, mental health providers can help
       adolescents navigate family dynamics, relationship difficulties, and peer social situations (e.g., losing
       friends when coming out, challenges in romantic relationships) that may arise (see statements 4 and
       11). fifth, exploring how youth understand a variety of gender trajectories (e.g., non-binary gender
       identity with or without gender affirming medical treatments) may be helpful to discuss in the context
       of an ongoing relationship with a mental health provider (see statement 2).

               Interventions should be individualized and aim to increase resiliency in the adolescent by
       strengthening social emotional skills, addressing the impact of minority stress, assisting with rigidity in
       thinking that may increase the young person's distress, and providing a safe space for the adolescent to
       continue exploring their identity should they so desire. Along these lines, it is critical that the adolescent
       feels comfortable within the therapeutic relationship to voice a desire to change or stop the transition
       process should this become the adolescent's preference.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020820



                                                                                   33
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 35 of 94




                We advise that the adolescent's caregiver(s) be included in the therapy and assessment process
       so they are kept abreast of the adolescent's desires, have the opportunity to share their thoughts and
       feelings about the transition steps and overall mental health of the adolescent, and learn ways to be
       supportive of their adolescent through the transition process (see statement 11). Caregiver(s) may
       benefit from their own therapy to process their experiences and reactions to their adolescent's gender
       transition, as this often brings up feelings of grief, loss, and fear for caregiver(s), which should not be
       minimized or dismissed. By validating these concerns and helping caregiver(s) process their feelings,
       they will be better able to support their adolescent, which will likely result in better mental health
       outcomes (Ryan, Huebner, Diaz, & Sanches, 2009).1                                                                 Commented 1221: I cant find from the text as to what the
                                                                                                                         evidence is for the recommendation. the statement
                                                                                                                         says 'clinician" but the text says -mental health
                                                                                                                         professional", i can understand that for some (those
       Chen, D., Matson, M., Macapagal, K., Johnson, E. K., Rosoklija, I., Finlaysori, C., Fisher, C., & Mustanski, B.   who have poor family support or need to work in
              (2018). Attitudes toward fertility and reproductive health among transgender and gender non-               resilience or have severe mental health problems) this
                                                                                                                         is necessary, but for everyone? the text should support
              conforming adolescents. Journal of Adolescent Health, 63 (1), 62.68.
                                                                                                                         the statement "clinician" and not provide a new
                                                                                                                         recommendation by the need for a mental health
       Ryan, C., Huebner, D., Diaz, R. M., & Sanchez, J. (2009). Family rejection as a predictor of negative health      worker.
               outcomes in white and Latino lesbian, gay, and bisexual young adults. Pediatrics, 123(1), 346-
               352. doi:10.1542/peds.2007-3524
       Sorbara JC, Chiniara, IN, Thompson 5, Palmert, M. (2020). Mental Health and Timing of Gender
               Affirming Care. Pediatrics ;146(4) :e20193600.
       Steinberg, L. (2009). Should the science of adolescent brain development inform public policy?
               American Psychologist, 64 (8), 739-750. doi.org/10.1037/0003-066x.64.8.739


       Statement 9:
       We recommend that clinicians should involve relevant disciplines, including mental health and
       medical professionals, in order to reach a decision as to whether puberty suppression, hormone
       initiation and/or gender related surgery for gender diverse and transgender adolescents is
                                                                                                                         Commented                 I his sounds a bit similar, in spirit :.
       appropriate, and remains indicated throughout the course of treatment until transition to adult care.             and intent, to statement 3, re Importance of assessment by
                                                                                                                         qualified MHP before starting either puberty suppression or
                Transgender and gender diverse adolescents with gender dysphoria/gender incongruence, who                hormone initiation.
       seek gender affirming medical and surgical treatments need healthcare professionals of differing                  Commented [241: it required -
       disciplines. Providing care to TGD adolescents includes addressing both: 1) diagnostic considerations             Commented
       (see Statement 3, 12A, 12B), conducted by a mental health professional whenever possible and 2)                   comment 'if required' regarding diagnostic consideratiOesit
       treatment considerations when prescribing, managing, and monitoring medications for gender affirming              erquired," Instead of
                                                                                                                         'whenever possible.' Again, this practice pathologizes
       medical and/or surgical care, requiring the training of the relevant medical/surgical professional. The list      'dentity.I really appreciate the last paragraph'
       of key disciplines includes but is not limited to: adolescent medicine/primary care, endocrinology,                 in-lying the importance of accessing rare in a timely
       psychology, psychiatry, speech/language pathology, social work, support staff, and the surgical team.             manner in order to remove barriers that are'
                                                                                                                         .mpossible for many to overcome.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                 BOEAL_WPATH_020821




                                                                                    34
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 36 of 94




                Transgender youth healthcare guidelines for have routinely emphasized the importance of a
       multidisciplinary care team that involves both medical and mental health professionals (American
       Psychological Association, 2015; Hembree et al., 2017; Telfer et al., 2018). The evolving evidence
       demonstrates clinical benefit from use gender of affirming treatments with transgender youth who
       come from gender clinics that are multidisciplinary (DeVries et al., 2014; Kuper et al., 2020; Tollit et al.,
       2019). Additionally, adolescents seeking gender affirming care in multidisciplinary clinics are presenting
       with significant complexity, necessitating close collaboration between mental health, medical, and/or
       surgical professionals (McCallion et al., 2021; Sorbara et al., 2020; Tishelman et al., 2015).
                Not all patients and/or families are in the position or in a location to access multidisciplinary
       care, and so therefore the lack of available disciplines should not preclude a young person from
       accessing needed care in a timely manner. When disciplines are available, particularly in centers with
       existing multidisciplinary learns and/or disciplines, efforts to include the relevant providers when
       developing a gender care team, is recommended. This does not mean that all disciplines are necessary
       for the provision of care to a particular youth and family.

       American Psychological Association. (2015). Guidelines for Psychological Practice with Transgender and
              Gender Nonconforming People. American Psychologist.Vol. 70, No. 9, 832-864.                              •   Formatted: Dutch;Belgium)
              http:/dx.doi/org/10.1037/a0039906

       de Vries AL, McGuire JK, Steensma TD, Wagenaar EC, Doreleijers TA, Cohen- Kettenis PT. (2014). Young
               adult psychological outcome after puberty suppression and gender reassignment. Pediatrics.
               134(4):696-704

       Gridley, S., Crouch, J., Evans, Y., Eng, W., Antoon, E., Lyapustina, M., Schimmel-Bristow, A., Woodward,
               J., Dundon, K., Schaff, R., McCarty, C., Ahrens, K., & Breland, D. (2016). Youth and Caregiver
                Perspectives on Barriers to Gender-Affirming Health Care for Transgender Youth.1 Adolesc
                Health: 59(3):254-261. DOI:10.1016/j.jadohealth.2016.03.017

       Hembree WC, Cohen-Kettenis P1, Gooren L, HdlIllefila SE. Meyer WJ, Murad MH, Rosenthal SM, Safer
             JD, Tangpricha V, T'Sjoen GG (2017). Endocrine treatment of gender-dysphoric/gender-
             incongruent persons: an Endocrine Society Clinical Practice Guideline. J Clin Endocrinol Metab
             102:3869-3903

       Kuper, L, Stewart, S., Preston, S., Lau, M., Lopez, X. (2020). Body Dissatisfaction and Mental Health
               Outcomes of Youth on Gender-Affirming Hormone Therapy. Pediatrics. 145(4):e20193006




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                               BOEAL_WPATH_020822



                                                                                   35
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 37 of 94




       McCallion, S., Smith, S., Kyle, H., Shaikh M.G., Gordon, W., Kyriakou, A. (2021). An appraisal of current
               service delivery and future models of care for young people with gender dysphoria. Eur J
               Pediatr. PMID: 33855617. Online ahead of print. DOI: 10.1007/s00431-021-04075
       Sorbara JC, Chiniara, LN, Thompson 5, Palmert, M. (2020). Mental Health and Timing of Gender-
               Affirming Care. Pediatrics ;146(4) :e20193600.
       Teller MM, Tollit MA, Pace CC, et al. (2018) Australian standards of care and Treatment guidelines for
               transgender and gender diverse children and adolescents. Med J Aust;209:132-6.
       Tishelman, A., Kaufman, R., Edwards-Leeper, L., Mandel, F., Shumer, D., & Spack, N. (2015). Serving
               Transgender Youth: Challenges, Dilemmas, and Clinical Examples. Prof Psycho!Res Pr. 46(1): 37-
               45. Doi:10.1037/a0037490

       Tollit, M., Pace, C., Teller, M., Hoy, M., Bryson, J., Fulkoski, N., Cooper, C., Pang, K. (2019) What are the
                health outcomes of trans and gender diverse young people in Australia? Study Protocol for the
                Trans20 longitudinal cohort study. BMJ Open. 9:e032151. Doi:10.1136/bnijopen-2019-032151


       Statement 10
       We recommend that clinicians working with trans and gender diverse adolescents requesting gender
       affirming medical or surgical treatments inform of the reproductive effects that includes the potential
       loss of fertility and options to preserve fertility in the context of the youth's stage of pubertal
       development prior to the initiation of treatment

       While assessing adolescents seeking gender affirming medical or surgical treatments, clinicians should
       discuss the specific ways in which the desired treatment may affect reproductive capacity. Fertility
       issues and the specific preservation options are more thoroughly discussed in the chapter on Fertility          Commented                 Also discussed in the Hormone
       and the chapter on Hormones. Please see that-those chapters for greater detail.                                 chapter and should be cross-referenced here, including the
                                                                                                                        important mom advance of in vivo oocyte maturation in a
                 It is important that clinicians understand what fertility preservation options exist in order to      trarisgender male adolescent on a GnRHa that was treated
       relay the information to adolescents. Parents are advised to be involved in this and should also                with a ielatively shod course of gonadotropins —sve
       understand the pros and cons of the different options. Clinicians should acknowledge that adolescents           Rothenberg S et al NEJM, 2019 Rothenberg, S. S., Witchel,
                                                                                                                        S. F. & Menke, M. N. Oocytecryopreservation In a
       and parents may have different views around fertility and may therefore come to different decisions
                                                                                                                       transgender male adolescent. N. fingtl. Med. 380, 846-
       (amain et al., 2020). Clinicians can be helpful in guiding this process.                                         887 (2019) 1
                 Clinicians should specifically pay attention to the developmental and psychological aspects of
       fertility preservation and decision-making competency for the individual adolescent. Adolescents may
       think they have made up their minds concerning fertility, but the chances that adolescents' opinions
       regarding having biologically related children in the future might change over time and needs to be
       discussed with a clinician who has sufficient experience and knowledge of adolescent development and
       working with parents.
                 Addressing the long-term consequences for fertility of gender affirming medical treatment and
       ensuring that transgender adolescents have realistic expectations concerning fertility preservation




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                             BOEAL_WPATH_020823



                                                                                   36
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 38 of 94




       options or adoption, is not a one-time discussion but should be part of an ongoing conversation. This
       conversation should occur not only before any medical intervention is started (puberty suppression,
       hormones or surgeries), but also during further treatment and transition.
                Currently, there are only preliminary results of retrospective studies of transgender adults
       regarding decisions that they made about the consequences of medical affirming treatment on fertility
       when they were young. Meanwhile, it is important not to assume the future adult goals of an
       adolescent. Research in childhood cancer survivors reports distress about potential infertility, regret and
       missed opportunities for fertility preservation (Armuand et al, 2014, Ellis et al., 2016, Lehmann et al.,
       2017). Individuals with cancer who did not prioritize having biological children before treatment have
       reported "changing their minds" in survivorship (Armuand et al, 2014).
                Given the complexities of the different fertility preservation options and the challenges that
       clinicians may experience around discussing fertility with the adolescent and the family (Tishelman et al
       2019), a fertility consultation should lbe advised for every transgender adolescent who considers medical                                            Yet another .mportanY'
       affirming treatments unless this is not covered by insurance, is not available locally, or the individual          statement, certainly, however there's a sentence that reads ",
       circumstances make this unpreferable.
                                                                                                                          recommendation, 'a fertility consultation should be advised
                                                                                                                         I[considers
                                                                                                                            for every transgender adolescent whom
                                                                                                                                       medical affirming treatments."
       Armuand, G. M., Wettergren, L., Rodriguez-Wallberg, K. A., & Lampic, C. (2014). Desire for children,              .
                                                                                                                          (Formatted: Dutch (Belgium)
             difficulties achieving a pregnancy, and infertility distress 3 to 7 years after cancer
             diagnosis. Supportive care in cancer: officialjournal of the Multinational Association of
             Supportive Care in Cancer, 22(10), 2805 2812. https://doi.org/10.1007/s00520-014-2279-;                     I Formatted: Dutch (Belgium)

       Brik, T., Vrouenraets, L., Schagen, S., Meissner, A., de Vries, M. C., & Hannema, S. E. (2019). Use of
                 Fertility Preservation Among a Cohort of Transgirls in the Netherlands. The Journal of adolescent
                 health : officialpublication of the Society for Adolescent Medicine, 64(5), 589-593.
               tatallc!Pi-orel..P.1016/114PITath.401a119P4
       Chen, D., Kyweluk, M. A., Sajwani, A., Gordon, E. J., Johnson, E. K., Finlayson, C. A., & Woodruff, T. K.
              (2019). Factors Affecting fertility Decision-Making Among Transgender Adolescents and Young
              Adults. LGBThealth, 6(3), 107-115. https://doi.org/10.1089/Igbt.2018.0250

       Chen, D., Matson, M., Macapagal, K., Johnson, E. K., Rosoklija, I., Finlayson, C., Fisher, C. B., & Mustariski,
              B. (2018). Attitudes Toward Fertility and Reproductive Health Among Transgender and Gender
              Nonconforming Adolescents. The Journal of adolescent health : officio! publication of the Society
              for Adolescent Medicine, 63(1), 62-68. https://cfni.orep.im 6/j.jadohealth7?017.11. 1)6




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                  BOEAL_WPATH_020824



                                                                                    37
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 39 of 94




       Ellis, S. J., Wakefield, C. E., McLoone, J. K., Robertson, E. G., & Cohn, R. J. (2016). Fertility concerns
                  among child and adolescent cancer survivors and their parents: A qualitative analysis. Journal of
                  psychosocial oncology, 34(5), 347-362. https://doi.org/10.1080/07347332.2016.1196806

        ehmann, V., Keim, M. C., Nahata, Shultz, E. L., Klosky, J. L., Tuinman, M. A., & Gerhardt, C. A. (2017).
             Fertility-related knowledge and reproductive goals in childhood cancer survivors: short
             communication. Human reproduction (Oxford, England), 32(11), 2250-2253.
             https://doi.org/10.1093/humrep/dex297

       Nilsson, J., Jervaeus, A., Lamplc, C., Eriksson, L. E., Widmark, C., Armuand, G. M., Malmros, J., Marshall
               Heyman, M., & Wettergren, L. (2014). Will I be able to have a baby?' Results from online focus
               group discussions with childhood cancer survivors in Sweden. Human reproduction (Oxford,
               England), 29(12), 2704-2711. https://doi.ore../10.1093/humrep/deu280

       Pang, K. C., Peri, A., Chung, H. F., Telfer, M., Elder, C. V., Grover, S., & Jayasinghe, Y. (2020). Rates of
               Fertility Preservation Use Among Transgender Adolescents. JAMA pediatrics, 174(9), 890-891.
               https://doi.org/10.1001/iamapediatrics.2020.0264                                                            Commented II=            t had a discussion withEV
                                                                                                                           EPATH with this statement versus the one in the hormone
       Tishelman AC, Sutter ME, Chen D, Sampson A, Nahata L, Kolbuck VD, Quinn GP. I lealth care provider                  chapter,        and I already agreed that this statement is
              perceptions of fertility preservation barriers and challenges with transgender patients and                  more. .         "and more transparent than the one in the
                                                                                                                           enda Chapter.;It may be possible to lake this one in the
              families: qualitative responses to an international survey. J Assist Reprod Genet. 2019                      endoihanteri.All parties agreed that the statement should
              Mar;36(3):579-588. doi: 10.1007/s10815-018-1395-y. Epub 2019Jan 3. PMID: 30604136;                           be in both chapters.
              PMCID: PMC6439053.                                                                                           Commented                            Statement 11Parental
                                                                                                                           involvement!'
                                                                                                                           Serious issues with this statement. Case example: I am a
       Statement 11:                                                                                                       primary care provider seeing a 19 year old who!'
       We advise that when gender affirming medical or surgical treatments are indicated for adolescents,             --   desires to access hormone therapy - in a location where the
       clinicians working with trans and gender diverse adolescents involve parent(s)/guardian(s) in the                   age of majority Is 18. How will a clinidanill
       assessment and treatment process, unless their involvement is determined to be harmful or                           assess if parental involvement will be harmful or
                                                                                                                           unnecessary? Is it reasonable to believe the 19 year Olen
       unnecessary to the adolescent                                                                                       when they tell the hormone provider that Involving their
                                                                                                                           caregivers would be harmful? I ask these
                   When there is indication that an adolescent might benefit from a gender affirming medical or            questions because I want to make sure we are on the same
       surgical treatment, involving the parent(s) and/or primary caregiver(s) in the assessment process is                page when a provider gets sued by a parentil
                                                                                                                           of a 19 year old for not contacting them and including them
       recommended in almost all situations (Edwards-Leeper & Spack, 2012; Rafferty, Child, & I lealth, 2018).             in the decision making process as per thell
       Exceptions to this might include situations in which an adolescent is in foster care and/or child                   SOC8 guidelines!'
       protective services custody and parent involvement would be impossible, inappropriate, or harmful.                  if the young person does not wart parental in volvement,
       Parent and family support of T/GD youth is a primary predictor of youth wellbeing and a protective                  believe a legal argument could be made that¶
       factor for T/GD youth mental health (Gower et al., 2018; Grossman, Park, Frank, 8i Russell, 2019;                   forced involvement of parents for minors w•zh legal capacity
                                                                                                                           and/or adolescents at or over the age oil
       Lefevor, Sprague, Boyd Rogers, & Smack, 2019; McConnell, Birkett, & Mustanski, 2015; Pariseau et al.,               majority isti violation of confidentiality rights.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                 BOEAL_WPATH_020825



                                                                                   38
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 40 of 94




       2019; Ryan, Huebner, Diaz, & Sanchez, 2009; Ryan, Russell, Huebner, Diaz, & Sanchez, 2010; Simons,
       Schrager, Clark, Belzer, & Olson, 2013; Wilson, Chen, Arayasirikul, Raymond, & McFarland, 2016).
       Therefore, including parent(s)/caregiver(s) in the assessment process to encourage and facilitate
       increased parental understanding and support of the adolescent may be one of the most helpful
       practices available.
               Parent(s)/caregiver(s) may provide key information for the clinical team, including report on the
       young person's gender and overall developmental, medical, and mental health history as well as
       information about the young person's level of current support and general functioning and wellbeing.
       Concordance or divergence of report between the adolescent and their parent(s)/caregiver(s) may be
       important information for the assessment team, including for the designing and shaping of
       individualized youth and family supports (De Los Reyes, Ohannessian, & Racz, 2019; Katz-Wise et al.,
       2017). Knowledge of the family context, including resilience factors and challenges can help providers
       know where special supports would be needed during the medical treatment process. Engagement of
       parent(s)/caregiver(s) is also important for educating families around various treatment approaches,
       ongoing follow up and care needs, and potential treatment complications. Through psychoeducation
       regarding clinical gender care options and participation in the assessment process, which may unfold
       over time, parent(s)/caregiver(s) may better understand their adolescent child's gender-related
       experience and needs (Andrzejewski, Pampati, Steiner, Boyce, & Johns, 2020; Katz-Wise et al., 2017).
               Parent/caregiver concerns or questions regarding the stability of gender-related needs over
       time and implications of various gender affirming interventions are common, and should not be
       dismissed. It is appropriate for parent(s)/caregiver(s) to ask these questions, and there are cases in
       which the parents)/caregiver(s)' questions or concerns are particularly helpful in informing treatment
       decisions and plans. For example, parent/caregiver report may provide critical context in situations in
       which a young person experiences very recent and/or sudden self awareness of gender diversity and a
       corresponding gender treatment request, or when there is concern for possible excessive peer and/or
       social media influence on a young person's current self-gender concept. Contextualization of
       parent/caregiver report is also critical, as the report of a young person's gender history as provided by
       parent(s)/caregiver(s) may or may not align with the young person's self-report. Gender histories may
       be unknown to parent(s)/caregiver(s) because gender may be an inward experience for youth, not
       known by others unless it is discussed.
               Some parents may present with unsupportive or antagonistic beliefs about T/GD identities
       and/or clinical gender care (Clark, Marshall, & Saewyc, 2020). Such parent perspectives may in sonic
       cases seem rigid, but providers should not assume this is the case. There are many examples of
       parent(s)/caregiver(s) who, over time with support and psychoeducation, have become increasingly
       accepting of their T/GD's child's gender diversity and care needs. Helping youth and
       parent(s)/caregiver(s) to work together on important gender care decisions is a primary goal. However,
       in some cases, parent(s)/caregiver(s) may be too rejecting of their adolescent child and their child's
       gender needs to be part of the clinical evaluation process. In these situations, youth may require the




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                         BOEAL_WPATH_020826



                                                                                39
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 41 of 94




       engagement of larger systems of advocacy and support to move forward with necessary supports and
       care (Dubin et al., 2020).

       Andrzejewski, J., Pampati, S., Steiner, R. J., Boyce, L., & Johns, M. M. (2020). Perspectives of transgender
                youth on parental support: qualitative findings from the resilience and transgender youth study.
                Health Education & Behavior, 1090198120965504.
       Clark, B. A., Marshall, S. K., & Saewyc, E. M. (2020). Hormone therapy decision-making processes:
                Transgender youth and parents. Journal of adolescence, 79, 136-147.
       De Los Reyes, A., Ohannessian, C. M., & Racz, S. J. (2019). Discrepancies between adolescent and parent
                reports about family relationships. Child Development Perspectives, 13(1), 53.58.
       Dubin, S., Lane, M., Morrison, S., Radix, A., Belkind, U., Vercler, C., & Inwards-Breland, D. (2020).
                Medically assisted gender affirmation: when children arid parents disagree. J MedEthics, 46(5),
                295-299. doi:10.1136/medethics-2019-105567
       Edwards-Leeper, L, & Spack, N. P. (2012). Psychological evaluation and medical treatment of
                transgender youth in an interdisciplinary "Gender Management Service"(GeMS) in a major
                pediatric center. Journal of homosexuality, 59(3), 321-336.
       Gower, A. L., Rider, G. N., Brown, C., McMorris, B. J., Coleman, E., Taliaferro, L. A., & Eisenberg, M. E.
                (2018). Supporting Transgender and Gender Diverse Youth: Protection Against Emotional
                Distress and Substance Use. Am !Prey Med, 55(6), 787.794. doi:10.1016/j.amepre.2018.06.030
       Grossman, A. H., Park, J. Y., Frank, J. A., & Russell, S. T. (2019). Parental Responses to Transgender and
                Gender Nonconforming Youth: Associations with Parent Support, Parental Abuse, and Youths'
                Psychological Adjustment. Journal of Homosexuality, 1-18. doi:10.1080/00918369.2019.1696103
       Katz-Wise, S. L, Budge, S. L, Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B., . .. Leibowitz, S. (2017).
                Transactional pathways of transgender identity development in transgender and gender
                nonconforming youth and caregiver perspectives from the Trans Youth Family Study.
                International Journal of Transgenderism, 18(3), 243-263.
       Lefevor, G. T., Sprague, B. M., Boyd-Rogers, C. C., & Smack, A. C. P. (2019). How well do various types of
                support buffer psychological distress among transgender and gender nonconforming students?
               Intl Transgend, 20(1), 39-48. doi:10.1080/15532739.2018.1452172
       McConnell, E. A., Birkett, M. A., & Mustanski, B. (2015). Typologies of Social Support and Associations
                with Mental Health Outcomes Among LGBT Youth. LGBT Health, 2(1), 55-61.
                doi:10.1089/Igbt.2014.0051
       Pariseau, E. M., Chevalier, L., Long, K. A., Clapham, R., Edwards-Leeper, L., & Tishelman, A. C. (2019). The
                relationship between family acceptance-rejection and transgender youth psychosocial
                functioning. ClinicalPractice in Pediatric Psychology, 7(3), 267.
       Rafferty, J., Child, C. o. P. A. o., & Health, F. (2018). Ensuring comprehensive care and support for
                transgender and gender-diverse children and adolescents. Pediatrics, 142(4).




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                             BOEAL_WPATH_020827



                                                                                  40
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 42 of 94




       Ryan, C., Huebner, D., Diaz, R. M., & Sanchez, J. (2009). Family rejection as a predictor of negative health
               outcomes in white and Latino lesbian, gay, and bisexual young adults. Pediatrics, 123(1), 346-
               352. doi:10.1542/peds.2007-3524
       Ryan, C., Russell, S. T., Huebner, D., Diaz, R., & Sanchez, J. (2010). Family acceptance in adolescence and
               the health of LGBT young adults. J Child Adolesc Psychiatr Nurs, 23(4), 205-213.
               doi:10.1111/j.1744-6171.2010.00246.x
       Simons, L., Schrager, S. M., Clark, L. F., Belzer, M., & Olson, J. (2013). Parental support and mental health
               among transgender adolescents. J Adolesc Health, 53(6), 791-793.
               doi:10.1016/j.jadohealth.2013.07.019
       Wilson, E. C., Chen, Y. II., Arayasirikul, S., Raymond, II. F., & McFarland, W. (2016). The Impact of
               Discrimination on the Mental Health of Trans*Female Youth and the Protective Effect of
               Parental Support. AIDS Behov, 20(10), 2203-2211. doi:10.1007/s10461-016-1409-7

       Statement 12A
       The adolescent meets the diagnostic criteria of gender incongruence as per the ICD-11where a
       diagnosis is necessary to access healthcare. In countries which have not implemented the latest ICD
       other taxonomies may be used but efforts should be undertaken to utilize the latest ICD as soon as is
       practicably possible.

                When working with transgender and gender diverse adolescents, clinicians should realize that a
       classification may give access to care, but pathologizing transgender identities may be experienced as          r Con meed   il           From Colt: "...pathologiring
       stigmatizing (van Beek et al., 2016). Assessments related to gender health arid gender diversity have           I transgender Identities may be experienced as stigmatizing."
       been criticized, and controversies exist around classification systems (Drescher, 2016). Healthcare
       professionals should realize they do not diagnose a gender identity per se, as one's gender identity is the
                                                                                                                       I I wonder why a stronger)
                                                                                                                         statement of how pathologizing transgender identities is a
                                                                                                                         stigmatizing practice is not made? If not, ill
       subjective experience of being male or female or another gender. Clinicians should assess the overall             makes it seem that trans people are the ones with the
       and gender-related history and transgender care related needs of youth. Through this assessment                   problem with being pathologired instead of thel
       process, health care providers may provide a classification when needed to get access to transgender-             practice itself.
       related care. However, a classification involving gender diversity connotes no pathology, in and of itself.
                Gender Incongruence and Gender Dysphoria are the two diagnostic terms used in respectively
       the World I lealth Organization's International Classification of Diseases (ICD) and the American
       Psychiatric Association's Diagnostic and Statistical Manual of Mental Disorders (DSM). Of these two
       widely used classification systems, the DSM is for psychiatric classifications only and the ICD contains all
       diseases and conditions related to physical as well as mental health. The most recent versions of these
       two systems, the DSM•S and the ICD 11respectively, reflect a long history of reconceptualizing and
       depsychopathologizing gender related diagnoses (American Psychiatric Association, 2013, World Health
       Organization, 2019). Compared to the earlier version, the DSM-5 replaced Gender Identity Disorder with
       Gender Dysphoria acknowledging the distress experienced by some people stemming from the
       incongruence between experienced gender identity and sex assigned at birth. Compared to the ICD 10th




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                               BOEAL_WPATH_020828



                                                                                  41
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 43 of 94




       edition, the Gender Incongruence classification was moved from the Mental Health Chapter to a
       Chapter "Conditions related to Sexual Health" in the ICD-11. One important reconceptualiiation in
       comparison to the DSM-5 Gender Dysphoria classification is that distress is not a required indicator of
       the ICD-11 Gender Incongruence classification (WHO, 2019). After all, when growing up in a supporting
       and accepting environment, the distress and impairment criterion, an inherent part of every mental
       health condition, may not be applicable (Drescher, 2012). As such, the ICD-11 Gender Incongruence
       classification may better capture the fullness of gender diversity experiences and related clinical gender
       needs.
                Criteria of the ICD-11 classification "Gender Incongruence of Adolescence or Adulthood" require
       a marked and persistent incongruence between an individual's experienced gender and the assigned sex
       which often leads to a desire to 'transition,' in order to live and be accepted as a person of the
       experienced gender. For some, this includes hormonal treatment, surgery, or other health care services
       to make the individual's body align as much as desired, and to the extent possible, with the person's
       experienced gender. Relevant for adolescents is the indicator that a classification cannot be assigned
       'prior to the onset of puberty. Finally, it is prescribed "that gender variant behaviour and preferences
       alone are not a basis for assigning the classification" (WHO, ICD-11, 2019).
                Criteria for the DSM-5 classification "Gender Dysphoria in Adolescence and Adulthood"denote 'a
       marked incongruence between one's experienced/expressed gender and assigned gender, of at least 6
       months' duration' (criterion A, fulfilled when 2 of 6 subcriteria are manifest), associated with 'clinically
       significant distress or impairment in social, occupational, or other important areas of functioning'
       (Criterion B, APA 2013). As noted before, not all transgender and gender diverse people experience
       gender dysphoria and this should not preclude them from accessing medical affirming care. For
       adolescents, the DSM-5 makes two specific remarks, which make it possible to give the classification
       when secondary sex characteristics have yet to fully develop. First, there should be a marked
       incongruence between one's experienced/expressed gender and one's primary and/or secondary sex
       characteristics (or in younger adolescents, the anticipated secondary sex characteristics). Second, the
       strong desire to be rid of one's primary and/or secondary sex characteristics because of a marked
       incongruence with one's experienced/expressed gender (or in younger adolescents, a desire to prevent
       the anticipated secondary sex characteristics).
                Of note, a gender related classification is one of the requirements for medical gender affirming
       care, but such a classification solely does not Indicate a person needs medical affirming care. The range
       of youth experiences of gender incongruence necessitates professionals provide a range of treatments
       or interventions based on the individual's needs. Counselling, gender exploration and mental health
       assessment, and when needed, treatment with mental health providers trained in gender development
       may all be indicated with or without medical affirming care.

       American Psychiatric Association: Diagnostic and Statistical Manual of Mental Disorders. 5th ed. (DSM-
              V). Arlington, VA: American Psychiatric Association Publishing, 2013.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                            BOEAL_WPATH_020829



                                                                                  42
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 44 of 94




       Beek, T. F., Cohen-Kettenis, P. T., & Kreukels, B. P. (2016). Gender incongruence/gender dysphoria and
               its classification history. International review of psychiolly (Abingdon, England), 28(1), 5 .12.
               https://doi.org/10.3109/09540261.2015.1091293

       Drescher, J., Cohen.Kettenis, P. T., & Reed, G. M. (2016). Gender incongruence of childhood in the ICD-
              11: controversies, proposal, and rationale. The lancet. Psychiatry, 3(3), 297-304.
              https://doi.org/10.1016/S2215-0366(15)00586-6

       Drescher, J., Cohen-Kettenis, P., & Winter, S. (2012). Minding the body: situating gender identity
              diagnoses in the ICD-11. International review of psychiatry (Abingdon, England), 24(6), 568-577.
              https://doi.org/10.3109/09540261.2012.741575

       World Health Organization: International Statistical Classification of Diseases and Related I lealth
              Problems (2019). 11th ed. https://icd.who.int/browsell/I-
              m/erar/http://id.who.int/icd/entity/908/5286

       Statement 12B
       There is well-documented (according to local context) evidence of persistent gender incongruence or                                                   . .... . „                    ..
       gender nonconformity / diversity of several years,                                                             Commented                                It Is unclear as to if this
                                                                                                                    ' statement refe• s to accessir.,, ouPertal suppression. In one
                                                                                                                    ; paragraph it ,•eadsT
                Identity exploration and consolidation are experienced by many adolescents (Klimstra, Hale Ill,
                                                                                                                    I hormones ant siirgory with no mention of pubertal
       Raaijmakers, Branje, & Meeus, 2010; Topolewska-Siedzik & Cieciuch, 2018). Identity exploration during          suppression and in another paragraph it says the¶
       the teen years may include exploration of gender and gender identity ( Steensma, Kreukels, de Vries, &         duration may be much shorter before initiating 'pubertal
       Cohen-Kettenis, 2013). Little is known about how processes of adolescent identity consolidation (e.g.,         Mockers' but does not go into any specifics.'"
       the process of commitment to specific identities) may impact a young person's experience(s) of gender.         here.1
                                                                                                                      in the case of onset of dysphoria with Initiation of puberty,
       Given potential shifts in gender-related experiences and needs during adolescence, as discussed below,         it seems inappropriate to add a barrier ofil
       it is important to establish that the young person has experienced several years of persistent gender          time without even specifying what that time is before
       incongruence or gender diversity prior to initiating gender-affirming hormones or providing gender-            'nterveninp, with this reversible Intervention -II
       affirming surgeries. Establishing evidence of persistent gender incongruence or gender diversity typically     especiaiiy since it is not clear if you are referring to pubertal
                                                                                                                      suppression in this statement. Also, 'several,'
       requires careful assessment with the young person over time (see Statement 3). Whenever possible and
                                                                                                                      years' will certainly come back to bite us in court, I'm
       appropriate, the assessment and discernment process should also include the parent(s)/caregiver(s) (see      I wondering why this arbitrary time frame is nag
       Statement 11).                                                                                                "defined, what constitutes several years? Are there
                The research literature on continuity versus discontinuity of gender affirming medical care           significant and compelling reasons to initiate anyl
                                                                                                                      treatments before several years have gone by? What are
       needs/requests is complex and somewhat difficult to interpret. A series of studies conducted over the
       last several decades, including some with methodological challenges (as noted by Temple Newhook et           i these reasons? Again,
                                                                                                                                                           •
       al., 2018; Winters et al., 2018), suggest that gender diversity is not consistent for all children as they
       progress into adolescence: A subset of youth who experienced gender diversity prior to puberty show
       reduced (or fully discontinued) gender diversity over time (de Vries, Noens, Cohen-Kettenis, van




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                               BOEAL_WPATH_020830



                                                                                  43
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 45 of 94




       Berckelaer-Onnes, & Doreleijers, 2010; Ristori & Steensma, 2016; Singh, Bradley, & Zucker, 2021,
       Wagner et al., 2021). However, there has been less research focus on rates of continuity and
       discontinuity of gender diversity and gender-related needs in pubertal and/or adolescent populations.
       The data available regarding broad unselected gender referred pubertal/adolescent cohorts (from the
       Amsterdam transgender clinic) suggest that, following extended assessments over time, a subset of
       gender diverse adolescents presenting for gender care elect not to pursue gender-affirming medical
       care (Amoldussen et al., 2019; de Vries, Doreleijers, Steensma, & Cohen-Kettenis, 2011). Importantly,
       findings from studies of gender diverse pubertal/adolescent cohorts who have undergone
       comprehensive gender evaluation over time, shown persistent gender diversity and gender-related
       need, and received resulting referrals for medical gender care, suggest very low levels of regret
       regarding gender-related medical care decisions (de Vries et al., 2014; Wiepjes et al., 2018). Critically,
       these findings of low regret can only currently be applied to youth who have demonstrated sustained
       gender diversity and gender-related needs over time, as established through comprehensive and
       iterative assessment (see Statement 3). Although by clinical observation an increasing number of youth
       are coming to self.identify as gender diverse in later adolescence, nothing is known about how their
       gender trajectories compare to those of youth who have come to know their gender diversity earlier
       (Kaltiala-Heino, Bergman, Tyolajarvi, & Frisen, 2018). This is a much-needed area of research.
                The level of reversibility of a gender affirming medical intervention should be considered along
       with the sustained duration of young person's gender incongruence. For example, the duration of
       persistent gender incongruence before initiating pubertal blockers may be much shorter than for
       initiating gender affirming hormones, given that pubertal suppression is intended to provide a young
       person with the time to explore their gender-related needs before deciding whether to progress to
       treatments that involve more irreversible elements. For youth who have experienced shorter duration
       gender incongruence, social transition related supports may provide some relief as well as additional
       information for the clinical team regarding a young person's broad gender care needs (see Statements 4,
       6, and 7).


       Amoldussen, M., Steensma, T. D., Popma, A., van der Miesen, A. I. R., Twisk, J. W. R., & de Vries, A. L. C.
               (2019). Re-evaluation of the Dutch approach: are recently referred transgender youth different        ( Formatted: Dutch (Belgium'.
               compared to earlier referrals? Eur Child Adolesc Psychiatry, doi:10.1007/s00787-019:01394-6.          (Formatted: Dutch (Belgutunj
       de Vries, A. L. C., Doreleijers, T. A. H., Steensma, T. D., & Cohen-Kettenis, P. T. (2011). Psychiatric
               comorbidity in gender dysphoric adolescents. Journal of Child Psychology and Psychiatry, and
               Allied Disciplines, 52(11.), 1195 1202. doi:10.1111/j.1469.7610.2011.02426.x
       de Vries, A. I.. C., McGuire, I. K., Steensma, T. D., Wagenaar, E. C. F., Doreleijers, T. A. H., & Cohen-
               Kettenis, P. T. (2014). Young adult psychological outcome after puberty suppression and gender        ( Formatted: Dutch (Belgium)
               reassignment. Pediatrics, 1.34O),..696-704. doi:10.1542/peds.2013-2958                                (Formatted: Dutch (Belgium)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                            BOEAL_WPATH_020831




                                                                                  44
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 46 of 94




       de Vries, A. L. C., Noens, I. L. J., Cohen-Kettenis, P. T., van Berckelaer-Onnes, I. A., & Doreleijers, T. A.
                 (2010). Autism spectrum disorders in gender dysphoric children arid adolescents. Journal of
                Autism and Developmental Disorders, 40(8), 930-936. doi:10.1007/s10803-010-0935-9
       Edwards. Leeper, L., & Spack, N. P. (2012). Psychological evaluation and medical treatment of
                 transgender youth in an interdisciplinary "Gender Management Service"(GeMS) in a major
                 pediatric center. Journal of homosexuality, 59(3), 321-336.
       Kaltiala-Heino, R., Bergman, H., Tyolajarvi, M., & Frisen, L. (2018). Gender dysphoria in adolescence:
                 current perspectives. Adolescent health, medicine and therapeutics, 9, 31.
       Klimstra, T. A., I lale III, W. W., Raaijmakers, Q. A., Branje, S. J., & Meeus, W. II. (2010).Jdentity formation   i Formatted: Dutch (Belgium)
                 in adolescence: Change or stability? Journal of youth and adolescence, 39(2), 150-162.
       Ristori, J., & Steensma, T. D. (2016). Gender dysphoria in childhood. Int Rev Psychiatry, 28(1), 13-20.            [Formatted: Dutch (Belgium)
                 doi:10.3109/09540261.2015.1115754
       Singh, D., Bradley, S. J., & Zucker, K. J. (2021). A Follow-Up Study of Boys With Gender Identity Disorder.
                Front Psychiatry, 14. 632784. doi:103389/fpsyt.2021.632784                                                (Formatted:porch (Belgium)
       Steensma, T. D., Biemond, R., de Boer, F., & Cohen-Kettenis, P. T. (2011). Desisting and persisting gender
                 dysphoria after childhood: a qualitative follow-up study. Clinical Child Psychology and Psychiatry,
                 16(4), 499-516. doi:10.1177/1359104510378303
       Steensma, T. D., Kreukels, B. P., de Vries, A. L., & Cohen-Kettenis, P. T. (2013). Gender identity
                 development in adolescence. llorm Behav, 64(2), 288-297. doi:10.1016/j.yhbeh.2013.02.020
       Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. 1., & Cohen-Kettenis, P. T. (2013). f actors      i Formatted: Dutch (Belgium)
                 associated with desistence and persistence of childhood gender dysphoria: a quantitative
                 follow-up study. Journal of the American Academy of Child and Adolescent Psychiatry, 52(6),
                 582-590. doi:10.1016/j.jaac.2013.03.016
       Strang, 1. F., Powers, M. D., Knauss, M., Sibarium, E., Leibowitz, S. F., Kenworthy, L., . . . Anthony, L G.
                (2018). "They thought it was an obsession••: Trajectories and perspectives of autistic transgender
                 and gender-diverse adolescents./ Autism Dev Disord, 48(12), 4039-4055. doi:10.1007/s10803-
                018-3723-6
       Temple Newhook, J., Pyne, J., Winters, K., Feder, S., Holmes, C., Tosh, J., .. . Pickett, S. (2018). A critical
                 commentary on follow-up studies and "desistance" theories about transgender and gender-
                 nonconforming children. International Journal of Transgenderism, 19(2), 212-224.
       Topolewska-Siedzik, E., & Cieciuch, J. (2018). Trajectories of identity formation modes and their
                 personality context in adolescence. Journal of Youth and Adolescence, 47(4), 775-792.
       Wagner, S., Panagiotakopoulos, L., Nash, R., et al. (2021) Progression of Gender Dysphoria in Children
                 and Adolescents: A Longitudinal Study. Pediatrics,148(1):e202002722                                      (Formatted: Dutch (Belgium)
       Wiepjes, C. M., Nota, N. M., de Blok, C. J. M., Klaver, M., de Vries, A. I. C., Wensing. Kruger, S. A., ... den
                 Heiler, M. (2018). The Amsterdam Cohort of Gender Dysphoria Study (1972-2015): Trends in
                 Prevalence, Treatment, and Regrets. /Sex Med, 15(4), 582-590. dol:10.1016/j.jsxm.2018.01.016




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                BOEAL_WPATH_020832



                                                                                    45
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 47 of 94




       Winters, K., Temple Newhook, J., Pyne, J., Feder, S., Jamieson, A., Holmes, C., ... Tosh, J. (2018).
              Learning to listen to trans arid gender diverse children: A Response to Zucker (2018) and
              Steensma and Cohen-Kettenis (2018). International Journal of Transgenderism, 19(2), 246-250.
              doi:10.1080/15532739.2018.1471767

       Statement 12C
       The adolescent demonstrates the emotional and cognitive maturity required to provide informed
       consent/assent for the treatment.

                 The process of informed consent includes communication between a patient and provider
       regarding the patient's understanding of a potential intervention as well as, ultimately, the patient's
       decision whether to receive the intervention. In most settings, for minors, the legal guardian is integral
       to the informed consent process: If a treatment is to be given, the legal guardian (often the
       parents]/caregiver[s]) provides the informed consent to do so. Assent, in most settings, is a somewhat
       parallel process in which the minor and the provider communicate about the intervention and the
       provider assesses understanding and intention.
                A necessary step in the informed consent/assent process for consideration of gender affirming
       medical care is careful discussion with qualified mental health and medical healthcare professionals of      Commented (32]: should this be and/or ?
       the reversible and irreversible effects of the treatment, as well as fertility preservation options (when    Commented
       applicable), and any additional potential risks and benefits of the intervention. These discussions are      ". Qulifietirbental health professional AND/OR medical
       required for informed consent/assent. Assessment of cognitive and emotional maturity is Important            professional." The hormone¶
                                                                                                                     chapter does not require a mental health professional
       because it helps the care team understand the adolescent's capacity to be informed.                          assessment for every patient, so this is all
                The skills necessary to assent/consent to any medical intervention or treatment include the         discrepancy. Also, primary care providers routinely assess
       ability to: (1) comprehend the nature of the treatment, (2) reason about treatment options, including         this in their patients and can certainly'
       risks and benefits, (3) appreciate the nature of the decision, including the long-term consequences; and      determine if additional input from a mental health
                                                                                                                    professional may be helpful or necessary.
       (4) communicate choice (Appelbaum, 2007; Grootens-Wiegers, Hein, van den Broek, & de Vries, 2017).
       In the case of gender affirming medical treatments, a young person should be well-informed about what
       the treatment may and may not accomplish, typical timelines for changes (e.g., with gender affirming
       hormones), and any implications of stopping the treatment. Gender-diverse youth should fully
       understand the reversible, partially reversible, and unirreversible aspects of a treatment, as well as the
       limits of what is known about certain treatments (e.g., the impact of pubertal suppression on brain
       development; (Chen et al., 2020). Gender-diverse youth should also understand that although many
       gender -diverse youth begin gender affirming medical care and experience that care as a good fit for
       them longterm, there is a subset of individuals who over time discover that this care is not a fit for
       them (Wiepjes et al., 2018). Youth should know that such shifts are sometimes connected to a change in
       gender needs over times, and in some cases, a shift in gender itself. Given this information, gender-
       diverse youth must be able to reason thoughtfully about treatment options, considering the implications




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020833



                                                                                46
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 48 of 94




       of the choices at hand. And as a foundation for providing assent, the gender-diverse young person needs
       to be able to communicate their choice.
                The skills needed to accomplish the tasks required for assent/consent may not emerge at
       specific ages per se (Grootens Wiegers et al., 2017), and there may be variability in these capacities
       related to developmental differences and mental health presentations (Shumer & Tishelman, 2015) as
       well as the opportunities a young person has had to practice these skills (Alderson, 2007). Further,
       assessment of emotional and cognitive maturity must be conducted separately for each gender-related
       treatment decision Vrouenraets, de Vries, De Vries, van der Miesen, & Hein, submitted).

               The following questions may be useful to consider in assessing a young person's emotional and
       cognitive readiness to assent or consent to a specific gender affirming treatment:
          • Can the young person think carefully into the future and consider the implications of a partially
               and/or fully irreversible intervention?
          • Does the young person have sufficient self-reflective capacity to consider the possibility that
               gender-related needs and priorities can develop over time, and that gender-related priorities at
               a certain point in time might change?
          • Has the young person, to some extent, thought through the implications of what they might do
               if their priorities around gender do change in the future?
          • Is the young person able to understand and manage the day-to-day short-term and/or long-
               term aspects of a specific medical treatment (e.g., medication adherence, administration, and
               necessary medical follow-ups).

           Assessment of emotional and cognitive maturity may be accomplished over time as the care team
       continues conversations about the treatment options and affords the young person the opportunity to
       practice thinking into the future and flexibly considering options and implications. For youth with
       neurodevelopmental and/or some types of mental health differences, skills for future thinking, planning,
       big picture thinking, and self-reflection may be less-well developed (Olde Dubbelink & Geurts, 2017). In
       these cases, a more careful approach to consent and assent may be required, and this may include
       additional time and structured opportunities for the young person to practice the skills necessary for
       medical decision-making (Strang et al., 2018).

       Alderson, P. (2007). Competent children? Minors' consent to health care treatment and research. Soc Sci
              Med, 65(11), 2272-2283. doi:10.1016/j.socscimed.2007.08.005
       Appelbaum, P. S. (2007). Clinical practice. Assessment of patients' competence to consent to treatment.
              N Engl J Med, 357(18), 1834 1840. doi:10.1056/NFJMcp074045
       Chen, D., Strang, J. F., Kolbuck, V. D., Rosenthal, S. M., Wallen, K., Waber, D. P., ... Paus, T. (2020).
              Consensus Parameter: Research Methodologies to Evaluate Neurodevelopmental Effects of
              Pubertal Suppression in Transgender Youth. Transgender Health                                        Formatted: Dutch Belgium)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                       BOEAL_WPATH_020834



                                                                               47
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 49 of 94




       Grootens-Wiegers, P., Hein, I. M., van den Broek, J. M., & de Vries, M. C. (2017). Medical decision-
                making in children and adolescents: developmental arid neuroscientific aspects. BMC pediatrics,
               17(1),1-10.
       Olde Dubbelink, L. M., & Geurts, H. M. (2017). Planning Skills in Autism Spectrum Disorder Across the
                Lifespan: A Meta-analysis and Meta-regression. 1Autism Dee Disord, 47(4), 1148-1165.
                doi:10.1007/s10803-016-3013-0
       Shumer, D. E., & Tishelman, A. C. (2015). The Role of Assent in the Treatment of Transgender
                Adolescents. InternationalJournal of Transgenderism, 16(2), 97-102.
                doi:10.1080/15532739.2015.1075929
       Strang, J. F., Meagher, II., Kenworthy, L., de Vries, A. L. C., Menvielle, E., Leibowitz, S., .. . Anthony, L G.
                (2018). Initial clinical guidelines for co-occurring autism spectrum disorder and gender dysphoria
                or incongruence in adolescents. J Clin Child Adolesc Psycho', 4711),105-115.                              '1 ,   Formatted: Dutch CEtelgium)
                doi:10.1080/15374416.2016.1228462
       Wiepjes, C. M., Nota, N. M., de Blok, C.I. M., Klaver, M., de Vries, A. L. C., Wensing- Kruger, S. A., ... den
                Heijer, M. (2018). The Amsterdam Cohort of Gender Dysphoria Study (1972-2015): Trends in
                Prevalence, Treatment, and Regrets. J Sex Med, 15(4), 582-590. doi:10.1016/j.jsxm.2018.01.016
       Vrouenraets,L.1.1.1, de Vries, A.L.C., De Vries, M.C., van der Miesen, A.I.R., Hein, I.M. (submitted)
                Medical decision-making competence in transgender youth using a standardized measure the
                MacCAT-T.


       Statement 12 D
       The adolescent mental health concerns (if any) that may interfere diagnostic clarity, capacity to
       consent and/or gender affirmative medical treatment have been addressed.

               While assessing trans and gender diverse adolescents for possible gender affirming medical
       treatments, clinicians should assess resilience and vulnerabilities of the adolescent!Gender) health                 1Commente41131): this reads like a recommendation
       providers must understand the adolescent's mental health needs, if any, and provide or facilitate                      Commented
                                                                                                                             I
       appropriate interventions as necessary. A young person's mental health challenges may impact their                     comment of the first sentence in the text reading as a
       conceptualization of their gender development history and gender identity related needs, the                           recommendation.The secondc
                                                                                                                            , difficulty is missing the word difficulty so It reads that
       adolescent's capacity to consent, and the ability of the young person to engage in/receive medical                   I mental health can complicate assessment...pleasel
       treatment. Clinicians should consider these challenges in their assessment and recommendations and                   I specify that it is the MIt difficulty that can complicate
       address them when indicated.                                                                                           assessment.
               Evidence indicates transgender and gender diverse adolescents are at increased risk for mental
       health challenges (for an overview, see e.g. I eibowit7 & de Vries, 2016), often related to
       family/caregiver rejection, non-affirming community environments, and neurodiversity-related factors
       (e.g. Weinhardt et al, 2017, Ryan et al., 2010, de Vries et al., 2016, Pariseau et al, 2019). Additionally,
       transgender and gender diverse youth may experience mental health concerns irrespective of the




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                      BOEAL_WPATH_020835



                                                                                    48
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 50 of 94




       presence of gender dysphoria gender incongruence, similar to cisgender youth. Depression and self-
       harm may be of specific concern; many studies reveal depression scores and emotional and behavioral
       problems that are comparable to mental health clinic referred populations (Leibowitz & de Vries, 2016)
       and higher rates of not only suicidal ideation, but also suicide attempts and self harm (de Graaf et al.,
       2020). Also, eating disorders occur more frequently than expected in non-referred populations (Spack et
       al., 2012, Khatchadourian et al., 2013, Ristori et al., 2019). Importantly, transgender and gender diverse
       adolescents show high rates of autism spectrum disorders/characteristics (see this chapter statement
       1.4, van der Miesen et al., 2016, Oen et al., 2018). Other mental health challenges may also be present,
       (e.g. ADHD, intellectual disability and psychotic disorders; de Vries et al., 2011, Parkes et al., 2006,
       Meijer et al., 2018). Stabilizing the mental health of transgender youth prior to initiation of gender
       affirming treatment has also been associated with reduced psychiatric acuity during treatment with
       hormones when compared to those youth who had more challenges at baseline (Kaltiala et al., 2020).
               Of note, many transgender adolescents are well-functioning and experience few if any mental
       health concerns. For example, socially transitioned pubertal adolescents who receive medical gender
       affirming treatment at specialized gender clinics may experience mental health outcomes equivalent to
       cisgender peers (e.g. de Vries et al., 2014, van der Miesen, 2020). A key task of the provider is to assess
       the direction of the relationships that exist between any mental health challenges and the young
       person's self-understanding of gender care needs, and then prioritize accordingly.
               Mental health difficulties may in various ways challenge the assessment and treatment of
       gender related needs of TGD adolescents:

               1) First, when a TGD adolescent is experiencing acute suicidality, self-harm, eating disorders or
                  other mental health crises that threaten physical health, safety must be prioritized.
                  According to the local context and guidelines, appropriate care should seek to mitigate
                  threat or crisis such that there is sufficient time and stabilization for thoughtful gender-
                  related assessment and decision making. For example, an actively suicidal adolescent may
                  not be emotionally able to make an informed decision regarding. If indicated, safety-related
                  interventions should not preclude starting gender affirming care.

               2) Second, mental health can also complicate the assessment of gender development and
                  gender identity related needs. For example, it is critical to differentiate gender incongruence
                  from specific mental health presentations, such as obsessions (and compulsions), special
                  interests in autism, rigid thinking, broader identity problems, parent child interaction
                  difficulties, severe developmental anxieties (e.g. fear of growing up and pubertal changes
                  unre►ated to gender identity), trauma, or psychotic thoughts. Mental health challenges that
                  interfere with clarity of identity development and gender-related decision making should be
                  prioritized and addressed.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                           BOEAL_WPATH_020836



                                                                                 49
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 51 of 94




               3) Third, decision-making regarding gender affirming medical treatments that have life-long
                  consequences requires thoughtful, future-oriented thinking by the adolescent, with support
                  from the parents/caregivers, as indicated (see statement 11). To be able to make such an
                  informed decision, an adolescent should be able to understand, express a choice, appreciate
                  and give careful thought regarding the wish for medical affirming treatment (see statement
                  12 C). Neurodevelopmental differences such as autistic features or autism spectrum
                  disorder (see statement 1.4, e.g. communication differences, a preference for concrete and
                  rigid thinking, differences in self-awareness and future thinking and planning) may challenge
                  the assessment and decision-making process; neurodiverse youth may require extra
                  support, structure, psychoeducation, and time built into the assessment process (Strang et
                  al, 2016). Other mental health presentations that involve reduced communication and self-
                  advocacy, difficulty engaging in assessment, memory and concentration difficulties,
                  hopelessness and and/or difficulty engaging in future-oriented thinking may complicate
                  assessment and decision making. In such cases, extended time is often necessary before any
                  decisions regarding medical affirming treatment can be made.

               4) Finally, when medical treatment is provided, mental health problems should be addressed
                  such that they do not hinder therapeutic adherence, such as taking medication, attending to
                  medical check-ups, and self-care.


       Cheri, M., Fuqua, J., & Eugster, E. A. (2016).Characteristics of Referrals for Gender Dysphoria Over a 13-       ( Formatted: Dutch (Belgium)
               Year Period. The Journal of adolescent health : officialpublication of the Societyfor Adolescent
               Medicine, 58(3), 369-371. https://doi.org/10.1016/j.jadohealth.2015.11.010

       de Graaf, N. M., Steensma, T. D., Carmichael, P., VanderLaan, D. P., Aitken, M., Cohen-Kettenis, P. T., de
              Vries, A., Kreukels, B., Wasserman, L., Wood, H., & Zucker, K. J. (2020).,5uicidality in clinic-           Formatted: Dutch (Belgium)
              referred transgender adolescents. European child & adolescent psychiatry, 10.1007/s00787-020-
              01663-9. Advance online publication. https://doi.org/10.1007/s00787-020-01663-9

       de Vries, A. L., Doreleijers, T. A., Steensma, T. D., & Cohen-Kettenis, P. T. (2011). Psychiatric comorbidity     Formatted: Dutch (Belgium)
               in gender dysphoric adolescents. Journal of child psychology and psychiatry, and allied
               disciplines, 52(11), 1195-1202. https://doi.ore./10.1111/).1469- 7610.2011.02426.x                       j Formatted: Dutch (Belgium)

       de Vries, A. L., McGuire, J. K., Steensma, T. D., Wagenaar, E. C., Doreleijers, T. A., & Cohen Kettenis• P. T.   , Formatted: Dutch (Belgium)
               (2014). Young adult psychological outcome after puberty suppression and gender
               reassignment. Pediatrics, 1.34(9,§3En794qqpsVdoi.orelp:.35!)grl!sls:?913: ?358,........._.                Formatted: Dutch (Belgium)
                                                                                                                         Formatted: Dutch (Belgium)
                                                                                                                         Formatted: I;utch




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                              BOEAL_WPATH_020837



                                                                                   50
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 52 of 94




       de Vries, A. L., Steensma, T. D., Cohen-Kettenis, P. T., VanderLaan, D. P., & Zucker, K. J. (2016). Poor peer
               relations predict parent- and self-reported behavioral arid emotional problems of adolescents
               with gender dysphoria: a cross-national, cross-clinic comparative analysis. European child &
               adolescent psychiatry, 25(6), 579-588. https://doi.org/10.1007/s00787.015 0764.7

       Kaltiala, R., Heino, E., Tyolajarvi, M., & Suomalainen, L. (2020). Adolescent development and
                psychosocial functioning after starting cross-sex hormones for gender dysphoria. Nordic journal
                of psychiatry, 74(3), 213-219. https://dol.org/10.1080/08039488.2019.1691260

       Khatchadourian, K., Amed, S., & Metzger, D. L (2014). Clinical management of youth with gender
              dysphoria in Vancouver. The Journal ofpediatrics, 164(4), 906- 911.
              https://doi.org/10.1016/j.jpeds.2013.10.068
                                                                                                         . .
       Leibowitz, S., & de Vries, A. L. (2016). Gender dysphoria in adolescence. International review of                Formatted: Dutch (Belgium)
              psychiatry (Abingdon, England), 28(1), 21-35. tittpsilicjp).om/10.3109/09540261.701sA124p4,              ( Formatted: Dutch (Belgium)
       Meijer, J. H., Eeckhout, G. M., van Vlerken, R. H., & de Vries, A. L. (2017). Gender Dysphoria and Co-
               Existing Psychosis: Review and Four Case Examples of Successful Gender Affirmative
               Treatment. Lail' health, 4(2), 106-114. https://doi.org/10.1089/Igbt.2016.0133

       cdien, R. A., Cicchetti, D. V., & Nordahl-Hansen, A. (2018). Gender Dysphoria, Sexuality and Autism
                Spectrum Disorders: A Systematic Map Review. Journal of autism and developmental
                disorders, 48(12), 4028-4037. https://doi.org/10.1007/s10803-018-3686-7

       Parkes, G., & Hall, I. (2006). Gender dysphoria and cross. dressing in people with intellectual disability: a
               literature review. Mental retardation, 44(4), 260-271. httpsj/doi.org/10.1352/0047-
               6765(2006144(260:GDACIP)2.0.CO;2

       Pariseau, E.M., Chevalier, L., Long, K.A., Clapham, R., Edwards-Leeper, L., & Tishelman, A.C. (2019). The
               Relationship Between Family Acceptance-Rejection and Transgender Youth Psychosocial
               Functioning. Clinical Practice in Pediatric Psychology, Vol. 7, No. 3, pp. 267 -277.
               httPs://doi.ore/10.1037/cpp000029*

       Ristori, J., Fisher, A. D., Castellini, G., Sensi, C., Cipriani, A., Ricca, V., & Maggi, M. (2019). Gender
                 Dysphoria and Anorexia Nervosa Symptoms in Two Adolescents. Archives of sexual
                behavior, 48(5), 1625-1631. https://doi.org/10.1007/s10508-019-1396-7




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                             BOEAL_WPATH_020838




                                                                                       51
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 53 of 94




       Ryan, C., Russell, S. T., Huebner, D., Diaz, R., & Sanchez, J. (2010). Family acceptance in adolescence and
               the health of LGBT young adults. Journal of child and adolescent psychiatric nursing: official
               publication of the Association of Child and Adolescent Psychiatric Nurses, Inc, 23(4), 205-213.
               https://doi.org/10.1111/j.1744.6171.2010.00246x

       Spack, N. P., Edwards-Leeper, L., Feldman, H. A., Leibowitz, S., Mandel, F., Diamond, D. A., & Vance, S. R.
               (2012). Children and adolescents with gender identity disorder referred to a pediatric medical
               center. Pediatrics, 129(3), 418-425. https://doi.org/10.1542/peds.2011-0907

       Strang, J. F., Meagher, H., Kenworthy, L., de Vries, A., Menvielle, E., Leibowitz, S., Janssen, A., Cohen-          Formatted: Dutch (Belgium)
                Kettenis, P., Shumer, D. E., Edwards-Leeper, L., Pleak, R. R., Spack, N., Karasic, D. H., Schreier, H.,
                Balleur, A., Tishelman, A., Ehrensaft, D., Rodnan, L., Kuschner, E. S., Mandel, F., ... Anthony, L. G.
                (2016). Initial Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
                Dysphoria or Incongruence in Adolescents. Journal ofclinical child and adolescent psychology:
                the officialjournal for the Society of Clinical Child and Adolescent Psychology, American
               PsychologicalAssociation, Division 53, 47(1), 105-115.
                https://doi.ore/10.10130/15374416.2016.1228462n ..                                                        k•Formatted: Dutch ;Beldam)

       van der Miesen, A., Steensma, T. D., de Vries, A., Bos, I L, & Popma, A. (2020). Psychological Functioning
               in Transgender Adolescents Before and After Gender-Affirmative Care Compared With
               Cisgender General Population Peers. The Journal of adolescent health: officialpublication of the
               Society for Adolescent Medicine, 66(6), 699 /04.
               https://doi.org/10.1016/j.jadohealth.2019.12.018

       Weinhardt, L. S., Stevens, P., Xie, H., Wesp, l.. M., John, S. A., Apchemengich, I., Kioko, D., Chavez-Korell,
             S., Cochran, K. M., Watjen, J. M., & Lambrou, N. H. (2017). Transgender and Gender
             Nonconforming Youths' Public Facilities Use and Psychological Well-Being: A Mixed-Method
             Study. Transgender health, 2(1), 140-150. https://doLorg/10.1089/trgh.2017.0020

       Statement 12 E
       The adolescent has been Informed of the reproductive effects that Includes the potential loss of
       fertility, and options to preserve fertility have been discussed in the context of the adolescent's stage
       of pubertal development.

       For the clinical approach, the scientific background, the rationale and concerned values we refer to the
       Fertility a9dt-lomone chapters!and background text above for statement 10 in this chapter (Adolescent              reomsnentetAIMF See my addition to the text here.
       chapter). For a detailed description of available preservation options and general consideration
       regarding fertility consequences of medical affirming treatment, see Fertility chapter.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                               BOEAL_WPATH_020839



                                                                                     52
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 54 of 94




       Statement 12F
       The adolescent has reached Tanner stage 2 of puberty for pubertal suppression.

                 The onset of puberty is a pivotal point for many gender diverse youth. For some, it creates an
       intensification of their gender incongruence, and for others, pubertal onset may lead to gender fluidity
       (e.g. a transition from binary to non-binary gender identity) or even attenuation of a previously affirmed
       gender identity (Drummond et al., 2008; Steensma et al., 2011, 2013; Wallien & Cohen-Kettenis, 2008).
       The use of puberty-blocking medications, such as GnRI l analogue, is not recommended until children have
       achieved a minimum of Tanner stage 2 of puberty and should not be implemented in prepubertal gender
       diverse youth (Waal & Colien-Kettenis, 2006). For some youth, GriRH agonists may be appropriate in late
       or post-puberty (e.g. Tanner stage 4 or 5) and this should be highly individualized.                            rCommented W               el would reference the Hormone
                 Variations in the timing of pubertal onset is due to multiple factors (e.g. sex assigned at birth,     chapter here, as we         a text discussion about the use of
                                                                                                                        GnRfla as a monotherapy in late or post-pubertal
       genetic, nutritional, etc). Tanner staging refers to five stages of pubertal development ranging from
                                                                                                                        adolescents. Specifically we say that ".-in adolescents
       prepubertal (Tanner stage 1) to postpubertal, adult sexual maturity (Tanner stage 5) (Marshall & Tanner,         older than 14, we do not currently have the data to
       1969, 1970). For birth-assigned females, pubertal onset (e.g. gonadarche) is defined by the occurrence of        inform whether GnRH agonists, as mono-therapy, oan
       breast budding (Tanner stage 2), and in birth-assigned males, by achieving a testicular volume of greater        be used (and for what duration) without posing
                                                                                                                        significant risk to skeletal health.1
       than or equal to 4 mt. (Roberts & Kaiser, 2020). The onset of puberty should be differentiated from physical     i think this is an important point to include in any chapter
       changes such as pubic hair and apocrine body odor due to sex steroids produced by the adrenal gland              that discusses use of GnRHa as a monotherapy in a late or
       (e.g. adrenarche) by an experienced medical provider as adrenarche does not warrant the use of puberty-          post-pubertal adolescent.
       blocking medications (Roberts & Kaiser, 2020). Educating parents arid families about the difference
       between adrenarche and gonadarche helps families understand the timing for shared decision making                comment here. I also appreciate Van outlining adrenarche
                                                                                                                                                                                         1
       with their multidisciplinary team related to gender-affirming medical therapies.                                 and gonadarche.

       Drummond, K. D., Bradley, S. J., Peterson-Badali, M., & Zucker, K. J. (2008). A follow-up study of girls with
            gender        identity       disorder.      Developmental          Psychology,      44(1),       34-45.
            https://doi.org/10.1037/0012-1649.44.1.34

       Marshall, W. A., & Tanner, J. M. (1969). Variations in pattern of pubertal changes in girls. Archives of
             Disease in Childhood, 44(235), 291-303.

       Marshall, W. A., & Tanner, J. M. (1970). Variations in the pattern of pubertal changes in boys. Archives of
             Disease in Childhood, 45(239), 13-23. https://doi.org/10.1136/adc.45.239.13

       Roberts, S. A., & Kaiser, U. B. (2020). Genetics in Endocrinology: Genetic etiologies of central precocious
              puberty and the role of imprinted genes. European Journal of Endocrinology, 183(4), R107-R117.
              https://doi.org/10.1530/EJE-20.0103




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                BOEAL_WPATH_020840



                                                                                  53
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 55 of 94




       Steensma, T. D., Biemond, R., de Boer, F., & Cohen-Kettenis, P. T. (2011).pesisting and persisting gender      r rn,.,ned, Dutch T,e12ium)
              dysphoria after childhood: A qualitative follow-up study. Clinical Child Psychology and Psychiatry,
              /6(4), 499-516. https://doi.org/10.1177/1359104510378303

       Steensma, T. D., McGuire, J. K., Kreukels, B. P. C., Beekman, A. J., & Cohen-Kettenis, P. T. (2013). Factors
              associated with desistence and persistence of childhood gender dysphoria: A quantitative follow-
              up study. Journal of the American Academy of Child and Adolescent Psychiatry, 52(6), 582-590.
              https://doi.org/10.1016/j.jaac.2013.03.016

       Waal, H. A. D. de, & Cohen-Kettenis, P. T. (2006). Clinical management of gender identity disorder in
              adolescents: A protocol on psychological and paediatric endocrinology aspects. European Journal
              ofEndocrinology, 155(suppl_1), S131—S137. https://doi.org/10.1530/eje.1.02231

       Wallien, M. S. C., & Cohen-Kettenis, P. T. (2008). Psychosexual outcome of gender-dysphoric children.
               Journal of the American Academy of Child and Adolescent Psychiatry, 47(12), 1413-1423.
               https://doi.org/10.1097/CHI.0b013e31818956b9


       Statement 12G
       We suggest/recommend that clinicians assessing trans and gender diverse adolescents should only
       recommend gender affirming medical or surgical treatments requested by the patient when:
       The adolescent is:
       14 years and above for hormone treatment (oestrogens or androgens), unless there are significant,
       compelling reasons to take an individualized approach, considering the factors unique to the
       adolescent treatment frame.
       15 years and above for chest masculinization; unless there are significant, compelling reasons to take
       an individualized approach, considering the factors unique to the adolescent treatment frame.
       16 years and above for breast augmentation, facial surgery (including rhinoplasty, tracheal shave, and
       genioplasty) as part of gender affirming treatment; unless there are significant, compelling reasons to
       take an individualized approach, considering the factors unique to the adolescent treatment frame.
       17 and above for metoidioplasty, orchidectomy, vaginoplasty, and hysterectomy and fronto-orbital
       remodeling as part of gender affirming treatment unless there are significant, compelling reasons to
       take an individualized approach, considering the factors unique to the adolescent treatment frame.
       18 years or above for phalloplasty, unless there are significant, compelling reasons to take an
       individualized approach, considering the factors unique to the adolescent treatment frame.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020841



                                                                                 54
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 56 of 94




                The ages outlined 'above provide general guidance on the age at which gender affirming                Commented                              statement 12G Age
       interventions may be considered. Age criteria should be considered in addition to other criteria outlined      Restrictionsll
                                                                                                                      RN documentation purposes: 1 have spent considerable
       for gender affirming interventions in youth as outlined in statements 12 A-F. Individual needs, decision
                                                                                                                      time and energy registering my opposition tot
       making capacity for the specific treatment being considered, and developmental stage (rather than age)         age barriers restricting trans youth's access to hormone
       are most relevant when determining timing of treatment decisions for individuals. Age has a strong             therapy at each Delphi process and whenll
       correlation, though not perfect, with cognitive development and may be a useful objective marker in            discussing hormone therapy Initiation with the hormone
                                                                                                                               Lc-authorr. On 5/25/21, um Ole:A.11
       determining potential timing of interventions. Higher (i.e., more advanced) ages are provided for
                                                                                                                      chaff
       treatments with greater irreversibility and/or complexity. This approach allows for                            Sand me attempting to get r.1 meet ng sets
       continued cognitive/emotional maturation that may be required for the adolescent to fully consider and         up between the adolescent sueLia4stsun the hormone
       consent to increasingly complex treatments (See 12C).                                                          chapter                      and me) and that
                 Recommendations above are based on available evidence; expert consensus; and ethical                 adolescent co-chairs                               order to
                                                                                                                      disc          age restrictions. No doodle poll wail
       considerations including, respect for the emerging autonomy of adolescents and minimizing harm in the
                                                                                                                      sent         followed up withillEon 6/2/21who said she
       setting of a limited evidence base. Historically, there has been hesitancy in the transgender healthcare       was working on it.I did not receive anyll
       setting to offer gender affirming treatments with potential irreversible effects to minors. The age criteria   further *mails to set up this meeting. It is unclear as to why
       set forth in these guidelines are intended to facilitate youth's access to gender affirming treatments, and    this meeting did not take place as this tooter
       are younger than ages stipulated in previous guidelines.(E. Coleman, 2012; Hembree et al., 2017)               is directly related to our chapter — and now I am told by Jon
                                                                                                                      A that these discussions have already taken'
       Importantly, for each gender affirming intervention being considered youth must communicate                    place in Europe and the derision has been made to have age
       consent/assent and be able to demonstrate an understanding and appreciation of potential benefits and          restrictions wt hormone therapy. As well
       risks specific to the intervention (See statement 12C).                                                        were not included in these discussions, I did not realize that
                 A growing body of evidence indicates that provision of gender affirming treatment for gender         the conversation was over, SA I will offer myl
       diverse youth who meet criteria, leads to positive outcomes (Achille et al., 2020; A. L de Vries et al.,       perspective with a compromisell
                                                                                                                      My perspective is informed as mental health provider
       2014; Kuper, Stewart, Preston, Lau, & Lopez, 2020). There is-are however, limited data on the optimal          (psychologist) and primary rare providel
       timing of gender affirming interventions, and long-term physical, psychological, and                           (physician) who has practiced in texas, LISA where litigation
       neurodevelopmental outcomes in youth.(Chen et al., 2020; Chew, Anderson, Williams, May, & Pang,                on access to healthcare for trans youth isl
       1018; Olson-Kennedy et al., 1016).The only existing longitudinal studies in gender diverse youth with          threatening to shut down many of our amazing
                                                                                                                      multidisciplinary clinics. We certainly have youth that arel,
       adult outcomes at this time are based on a specific model (i.e. the Dutch approach) that involved a            under the age of 14 (agreed, not the majority) who are
       comprehensive initial assessment with follow-up. In this approach pubertal suppression was considered          appropriately started on hormone therapy. When'
       at age 12, GAHT at age 16 and surgical interventions after age 18 with exceptions in some cases. It is not     SOC8 is published with the age 14 restriction, this will add
       clear if deviations from this approach would lead to the same or different outcomes. Longitudinal              fuel to their litigious fire as they continue toll
                                                                                                                      conic down hard un our practices.11
       studies are currently underway to better define outcomes as well as the safety and efficacy of gender
                                                                                                                      If you absolutely must have age barriers to care for trans
       affirming treatments in youth. (Olson-Kennedy et al., 2019) While the long-term effects of gender              youth, then I ask that the chapter authorsll
       affirming treatments initiated in adolescence are not fully known, the potential negative health               deve-op VERY CLEAR examples of "significant, compelling
       consequences of delaying treatment should also be considered.(A. L. C. de Vries et al., 2021) As the           reasons to take an individualized approach,'
       evidence base regarding outcomes of gender affirming interventions in youth continues to grow,                 considering the factors unique to the adolescent treatment
                                                                                                                      frame." it is unclear why we are non
       recommendations on timing and readiness for gender affirming interventions may be updated.                     recommending ar individualized approach for every patient,
                 Previous guidelines regarding gender affirming treatment of adolescents recommended that             but, since this is how y'all are choosing tol
       initiation of partially reversible gender affirming hormone treatment (GAHT) could begin at about 16           frame things, I wonder why only one example of a
       years of age. (E. Coleman, 2012; Hembree et al., 2009) More recent guidelines suggest that there may           significant compelling reason (avoiding orolongedll
                                                                                                                      pubertal suowession) s oresented for initiating hormone




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                             BOEAL_WPATH_020842



                                                                                 55
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 57 of 94




       be compelling reasons to initiate GAHT prior to the age of 16, though there are limited studies on youth
       who have initiated hormones prior to 14yo. (Hembree et al., 2017) A compelling reason for earlier
       initiation of GAHT, for example, might be to avoid prolonged pubertal suppression, given potential bone
       health concerns and the psychosocial implications of delaying puberty, Puberty is a time of significant      Commentates Note that this i5 all discussed with
       brain and cognitive development. The potential neurodevelopmental impact of extended pubertal               Leferences in the Hormone chapter.
       suppression in gender diverse youth has been specifically identified as an area in need of continued
       study.(Chen et al., 2020) While GnRH analogs have been shown to be safe when used for the treatment
       of precocious puberty, there are concerns that delaying exposure to sex hormones (endogenous or
       exogenous) at a time of peak bone mineralization may lead to decreased bone mineral density. The
       potential decrease in bone mineral density as well as the clinical significance of any decrease needs
       continued study. (Klink, Canis, Heijboer, van Trotsenburg, & Rotteveel, 2015; Lee et al., 2020; Schagen,
       Wouters, Cohen-Kettenis, Gooren, & Hannema, 2020) t should also be noted that ages for initiation of         Comment.                 This also discussed in the hormone
       GAHT recommended above are delayed when compared to when cisgender peers initiate puberty with               chapter in detail. it should be cross tefered
       endogenous hormones in most regions.(Palmert & Dunkel, 2012) The potential negative psychosocial
       implications of not initiating puberty with peers may place additional stress on gender diverse youth,
       though this has not been explicitly studied When considering timing of initiation of gender affirming
       hormones providers should consider the potential physical and psychological benefits and risks of
       starting treatment with the potential risks and benefits of delaying treatment.
                Age recommendations for irreversible surgical procedures were determined by review of
       existing literature and expert consensus of mental health providers, medical providers, and surgeons
       highly experienced in providing care to gender diverse adolescents. Studies done with transmasculine
       youth have demonstrated that chest dysphoria is associated with higher rates of anxiety, depression,
       and distress; and can lead to functional limitations such as avoiding exercising or bathing.(Mehringer et
       al., 2021; Olson-Kennedy, Warus, Okonta, Belzer, & Clark, 2018; Sood et al., 2021) Testosterone
       unfortunately does little to alleviate this distress and chest masculinization is an option for some
       individuals to address this distress long-term. Studies with youth who sought chest masculinization
       surgery to alleviate chest dysphoria demonstrated good surgical outcomes, satisfaction with results, and
       minimal regret during the study monitoring period.(Marinkovic & Newfield, 2017; Olson-Kennedy et al.,
       2018) Chest masculinization surgery can be considered in minors when clinically and developmentally
       appropriate as determined by a multidisciplinary team experienced in adolescent and gender
       development (See statements 1-12). Duration or presence of testosterone therapy should not preclude
       surgery if otherwise indicated. The needs of some gender diverse youth may be met by chest
       masculinization surgery alone. Breast augmentation may be desired by transfeminine youth though
       there is less data on this procedure in youth, possibly due to fewer individuals requesting this
       procedure.(E. R. Boskey et al., 2019; lames, 2016) GAHT, specifically estrogen, can help with
       development of breast tissue and it is recommended that youth have a minimum of 12 months of
       hormone therapy, or longer if required for surgical effect prior to breast augmentation unless hormone      'i,Cenunented           See previous ref on dosage
       therapy is not clinically indicated or is medically contraindicated (See Surgery Chapter).




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                           BOEAL_WPATH_020843



                                                                                56
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 58 of 94




                Data are limited on the optimal timing of other gender affirming surgical treatments in
       adolescents. Part of this is due to the fact that access to these treatments is limited and is variable in
       different geographical locations.(Mahfouda et al., 2019) Data indicate that rates of gender affirming
       surgeries have increased since 2000, and that there has been an increase in the number of gender
       diverse youth seeking vaginoplasty.(Mahfouda et al., 2019; Milrod & Karasic, 2017) A 2017 study of 20
       WPATH affiliated surgeons in the United States reported that slightly more than half had performed
       vaginoplasty in minors.(Milrod & Karasic, 2017) Limited data are available on outcomes for youth
       undergoing vaginoplasty. Small studies have reported improved psychosocial functioning and decreased
       gender dysphoria in adolescents who have undergone vaginoplasty.(Becker et al., 2018; Cohen-Kettenis
       & van Goozen, 1997; Smith, van Goozen, & Cohen-Kettenis, 2001) While the sample sizes are small
       these studies suggest that there may be a benefit in some adolescents to having these procedures
       performed before the age of 18. Factors that may support pursuing these procedures for youth under 18
       years of age include the increased availability of support from family members, greater ease of
       managing post-operative care prior to transitioning to tasks of early adulthood (e.g. entering university
       or the workforce), and safety concerns in public spaces (i.e to reduce transphobic violence).(F. Boskey,
       Taghinia, & Ganor, 2018; E. R. Boskey et al., 2019; Mahfouda et al., 2019) Given the complexity and
       irreversibility of these procedures an assessment of the adolescent's ability to adhere to post-surgical
       care recommendations and to comprehend the long-term impacts of these procedures on reproductive
       and sexual function is crucial.([. R. Boskey et al., 2019) Given the complexity of phalloplasty and current
       rates of complication it is not recommended that this surgery be considered in youth under 18 at this
       time.
                Additional key factors that should be taken into consideration when discussing timing of
       interventions with youth and families are addressed in detail in Statements 12 A-F.

       Achille, C., Taggart, T., Eaton, N. R., Osipoff, J., Tafuri, K., bane, A., & Wilson, T. A. (2020). I ongitudinal
                impact of gender-affirming endocrine intervention on the mental health and well-being of
                transgender youths: preliminary results. Int J Pediatr Endocrinol, 2020, 8. doi:10.1186/s13633-
                020-00078-2
       Becker, I., Auer, M., Barkmann, C., Fuss, J., Moller, B., Nieder, T. O., .. . Richter-Appelt, H. (2018). A
                Cross-Sectional Multicenter Study of Multidimensional Body Image in Adolescents and Adults
                with Gender Dysphoria Before and After Transition-Related Medical Interventions. Arch Sex
                Behav, 47(8), 2335-2347. doi:10.1007/s10508-018-1278-4
       Boskey, E., Taghinia, A., & Ganor, O. (2018). Public Accommodation Laws and Gender Panic in Clinical
                Settings. AMA J Ethics, 20(11), E1067 1074. doi:10.1001/amajethics.2018.1067
       Boskey, E. R., Johnson, J. A., Harrison, C., Marron, J. M., Abecassis, L., Scobie-Carroll, A.,        Ganor, O.
                (2019). Ethical Issues Considered When Establishing a Pediatrics Gender Surgery Center.
                Pediatrics, 143(6). dol:10.1542/peds.2018-3053




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                BOEAL_WPATH_020844



                                                                                      57
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 59 of 94




       Chen, D., Strang, J. F., Kolbuck, V. D., Rosenthal, S. M., Wallen, K., Waber, D. P., . . . Garofalo, R. (2020).
                Consensus Parameter: Research Methodologies to Evaluate Neurodevelopmental Effects of
                Pubertal Suppression in Transgender Youth. Transgend Health, 5(4), 246-257.
                doi:10.1089/trgh.2020.0006
       Chew, D., Anderson, J., Williams, K., May, T., & Pang, K. (2018). Hormonal Treatment in Young People
                With Gender Dysphoria: A Systematic Review. Pediatrics, 141(4). doi:10.1542/peds.2017-3742
       Cohen-Kettenis, P. T., & van Goozen, S. H. (1997). Sex reassignment of adolescent transsexuals: a follow-
                up study. J Am Acad Child Adolesc Psychiatry, 36(2), 263-271. doi:10.1097/00004583-
                199702000-00017
       de Vries, A. L., McGuire, J. K., Steensma, T. D., Wagenaar, E. C., Doreleijers, T. A., & Cohen-Kettenis, P. T.
                (2014). Young adult psychological outcome after puberty suppression and gender reassignment.
                Pediatrics, 134(4), 696-704. doi:10.1542/peds.2013-2958
       de Vries, A. L. C., Richards, C., Tishelman, A. C., Motmans, J., Hannema, S. E., Green, l., & Rosenthal, S.
                M. (2021). Bell v Tavistock and Portman NHS Foundation Trust [2020] EWHC 3274: Weighing
                current knowledge and uncertainties in decisions about gender-related treatment for
                transgender adolescents. InternationalJournal of Transgender Health, 1-8.
                doi:10.1080/26895269.2021.1904330
       E. Coleman, W. B., M. Botzer, P. Cohen-Kettenis, G. DeCuypere, J. Feldman, L Fraser, J. Green, G.
                Knudson, W. J. Meyer, 5. Monstrey, R. K. Adler, G. R. Brown, A. H. Devor, R. Ehrbar, R. Ettner, L.
                Eyler, R. Garofalo, D. H. Karasic, A. I. Lev, G. Mayer, H. Meyer-Bahlburg, B. P. Hall, F. Pfaeftlin, K.
                Rachlin, B. Robinson, L S. Schechter, V. Tangpricha, M. van Trotsenburg, A. Vitale, S. Winter, S.
                Whittle, K. R. Wylie & K. Zucker. (2012). Standards of Care for the Health of Transsexual,
                Transgender, and Gender Nonconforming, Version 7. International Journal of Transgenderism,
                13(4),165-232. doi:10.1080/15532739.2011.700873
       Hembree, W. C., Cohen-Kettenis, P., Delemarre-van de Waal, H. A., Gooren, L J., Meyer, W. J., 3rd,
                Spack, N. P., . . . Endocrine, S. (2009). Endocrine treatment of transsexual persons: an Endocrine
                Society clinical practice guideline. J Gin Endocrinol Metab, 94(9), 3132-3154.
                doi:10.1210/jc.2009-0345
       Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L, Hannema, S. E., Meyer, W.1., Murad, M. II., .
                T'Sjoen, G. G. (2017). Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons:
                An Endocrine Society Clinical Practice Guideline. J Gin Endocrinol Metab, 102(11), 3869-3903.
                doi:10.1210/jc.2017-01658
       James, S. E., Herman, J. L, Rankin, S., Keisling, M., Mottet, L., & An:Ai, M. (2016). The Report of the 2015
                U.S. Transgender Survey. Retrieved from Washington, DC:
       Klink, D., Caris, M., Heijboer, A., van Trotsenburg, M., & Rotteveel, J. (2015). Bone mass in young
                adulthood following gonadotropin-releasing hormone analog treatment and cross-sex hormone
                treatment in adolescents with gender dysphoria. J          Endocrinol Metal,, 100(2), E270-275.
                doi:10.1210/jc.2014-2439




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                BOEAL_WPATH_020845



                                                                                     58
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 60 of 94




       Kuper, L. E., Stewart, S., Preston, S., Lau, M., & Lopez, X. (2020). Body Dissatisfaction and Mental Health
                Outcomes of Youth on Gender-Affirming Hormone Therapy. Pediatrics, 145(4).
                doi:10.1542/peds.2019-3006
       Lee, J. Y., Finlayson, C., Olson-Kennedy, J., Garofalo, R., Chan, Y. M., Glidden, D. V., & Rosenthal, S. M.
                (2020). Low Bone Mineral Density in Early Pubertal Transgender/Gender Diverse Youth: Findings
                From the Trans Youth Care Study. J Endocr Soc, 4(9), bvaa065. doi:10.1210/jendso/bvaa065
       Mahfouda, S., Moore, J. K., Siafarikas, A., Hewitt, T., Ganti, U., Lin, A., & Zepf, F. D. (2019). Gender-
                affirming hormones and surgery in transgender children and adolescents. Lancet Diabetes
                Endocrinol, 7(6), 484-498. doi:10.1016/S2213-8587(18)30305-X
       Marinkovic, M., & Newfield, R. S. (2017). Chest reconstructive surgeries in transmasculine youth:
                Experience from one pediatric center. InternationalJournal of Transgenderism, 18(4), 376-381.
                doi:10.1080/15532739.2017.1349706
       Mehringer, J. E., Harrison, J. B., Ouain, K. M., Shea, J. A., Hawkins, L. A., & Dowshen, N. L. (2021).
                Experience of Chest Dysphoria and Masculinizing Chest Surgery in Transmasculine Youth.
                Pediatrics. doi:10.1542/peds.2020-013300
       Milrod, C., & Karasic, D. H. (2017). Age Is Just a Number: WPATH-Affiliated Surgeons' Experiences and
                Attitudes Toward Vaginoplasty in Transgender Females Under 18 Years of Age in the United
                States..1Sex Med, 14(4), 624-634. doi:10.1016/j.jsxm.2017.02.007
       Olson-Kennedy, J., Chan, Y. M., Garofalo, R., Spack, N., Chen, D., Clark, L., . . . Rosenthal, S. (2019).
                Impact of Early Medical Treatment for Tra nsgender Youth: Protocol for the Longitudinal,
                Observational Trans Youth Care Study. JMIR Res Protoc, 8(7), e14434. doi:10.2196/14434
       Olson-Kennedy, J., Cohen-Kettenis, P. T., Kreukels, B. P., Meyer-Bahlburg, H. F., Garofalo, R., Meyer, W.,
                & Rosenthal, S. M. (2016). Research priorities for gender nonconforming/transgender youth:
                gender identity development and biopsychosocial outcomes. Curr Opin Endocrinol Diabetes
                Obes, 23(2), 172-179. doi:10.1097/M F D.0000000000000236
       Olson-Kennedy, J., Warus, J., Okonta, V., Belzer, M., & Clark, L. F. (2018). Chest Reconstruction and Chest
                Dysphoria in Transmasculine Minors and Young Adults: Comparisons of Nonsurgical and
                Postsurgical Cohorts. JAMA Pediatr, 172(5), 431-436. doi:10.1001/jamapediatrics.2017.5440
       Palmert, M. R., & Dunkel, L. (2012). Clinical practice. Delayed puberty. IV Engll Med, 366(5), 443-453.
                doi:10.1056/NEJMcp1109290
       Schagen, S. E. E., Wouters, F. M., Cohen-Kettenis, P. T., Gooren, L. J., & Hannema, S. E. (2020)..8one
                Development in Transgender Adolescents Treated With GtiRH Analogues and Subsequent
                Gender-Affirming Hormones. J Gin Endocrinol Metab, /05(12). doi:10.1210/clinem/dgaa604
       Smith, Y. L., van Goozen, S. H., & Cohen-Kettenis, P. T. (2001). Adolescents with gender identity disorder
                who were accepted or rejected for sex reassignment surgery: a prospective follow-up study. J
                Am Acad Child Adolese Psychiatry, 40(4), 472-481. doi:10.1097/00004583-200104000-00017
       Sood, R., Chen, D., Muldoon, A. L., Chen, L., Kwasny, M. J., Simons, L. K., . . . Jordan, S. W. (2021).
                Association of Chest Dysphoria With Anxiety and Depression in Transmasculine and Nonbinary




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                           BOEAL_WPATH_020846



                                                                                 59
      Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 61 of 94




           Adolescents Seeking Gender-Affirming Care. J Adolesc Health.
           doi:10.1016/j.jadohealth.2021.02.024




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                     BOEAL_WPATH_020847



                                                                          60
        Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 62 of 94




           Re: Attached revised Child chapter
           •

           From:
           To:                                                 Eli Coleman <               >
           Cc:

           Date:           Sat, 07 May 2022 10:02:28 -0400
           Attachments:    Revised sent 4-25           et al SOC8 child chapter subsection .docx (109.85 kB)

           Dear -
           Thanks a lot for sending us the next draft of the child chapter. This has now been reviewed
           by the chairs.

           We all think that the chapter reads beautifully and that you have done a great job, thanks for
           all the hard work particularly during such a difficult time for you.

           Our comments are particularly related to two main issue:

                1. The change from gender diverse children to TGD children. Please see our
                   comments. Gender diverse is also the term that the adolescent chapter is using. We
                   don't agree with this change, the delphi statements were all with gender diverse and
                   we cant modify this. Please see comments from asa and eli about this too in the file.
                   Please do change it back to gender diverse.

                2. We are reviewing all the statements in the SOC-8 to make sure that there is enough
                   evidence in the text to support a strong recommendation. We don't agree that some
                   statements in your chapter should be "recommend", they should be "suggest" as the
                   text does not provide enough strong evidence. We would like for these statements to
                   change to "suggest"

           Can you please make any changes using tracker change and send it back to us. I have
           accepted the changes (most of them) that we were happy with and leave the ones with did
           not agree which are mainly related to TGD.

           We would like to get the next draft by the 13th of May at the latest, it should not take long to
           make the changes suggested. We have now most of the chapters finished and we need to
           send the whole SOC-8 to the editor again at the end of May, so we will be grateful for your
           speeding work on it.
           Kind regards




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                       BOEAL_WPATH_127273
                                                                                                  BOEAL WPATH 127273

                                                          61
        Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 63 of 94




           From:
           Date: Friday, 29 April 2022 at 18:34
           To: Eli Coleman <                 >
           Cc:


           Subject: Re: Attached revised Child chapter

           I have received some suggested edits from a few chapter authors that I will integrate. This
           should be a track changes version. I think I explained that somehow track hangers wasn't
           working for the first page or two but I made every few changes- I think just to the terminology
           section, explaining we would use TGD terminology.

           Sent from my iPad




             On Apr 29, 2022, at 12:15 PM, Eli Coleman <                     wrote:


             Thank you         Can we please have a track change version?

             Best,

             Eli

             On Mon, Apr 25, 2022 at 3:10 PM                                              wrote:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                      BOEAL_WPATH_127274
                                                                                                BOEAL WPATH 127274

                                                         62
        Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 64 of 94




               Hi All,
               I am attaching the revised child chapter. I sent it to the other authors last week and
               asked them to get back to me with any requested edits by today but have only heard
               back from one person who had no requested changes. I think it would be helpful if
               you reviewed it as well, so it can be finalized. Here are some bullet points:

               1. I started editing the chapter and realized that for the first page or so track changes
               were not on. I am sorry about that. Please read those pages carefully--I did not make
               a whole lot of modifications to those sections but did change the section on
               terminology and now use TGD throughout. I made some other minor changes as well.
               I used track changes for all other edits.

               2. I changed the language throughout to TGD (from gender diverse) in the practice
               statements.

               3. I deleted the word "should " from most practice statements, as I did not think those
               deletions changed the meaning of the statements and I believe the statements read
               more smoothly with this modification.

               4.1 made other minor changes throughout, particularly minimizing or completely
               deleting the term "exploratory therapy".

               5. Based on comments, I revised the social transition section and I think it is much
               improved now. I added something about how a TGD child who does not does not
               socially transition may also be bullied and ostracized ---because they may not meet
               socially prescribed expectations for a person of their gender.

               6.       and I edited the sections referring to ASD and neurodivergent youth and we
               very slightly changed the terminology in the practice statement (from neurodiverse to
               neurodivergent) to match the chapter but not in a way that I think modifies the
               meaning of the statement.

               Best to All,




CONFIDENTIAL -— SUBJECT TO PROTECTIVE ORDER                                                     BOEAL_WPATH_127275
                                                                                                BOEAL WPATH 127275

                                                        63
        Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 65 of 94




           This message and any attachment are intended solely for the addressee
           and may contain confidential information. If you have received this
           message in error, please contact the sender and delete the email and
           attachment.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                         BOEAL_WPATH_ 127276
                                                                                   BOEAL_WPATH_127276

                                                          64
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 66 of 94




                                  65
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 67 of 94




                                  66
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 68 of 94




                                  67
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 69 of 94




                                  68
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 70 of 94




                                  69
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 71 of 94




                                  70
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 72 of 94




                                  71
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 73 of 94




                                  72
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 74 of 94




                                  73
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 75 of 94




                                  74
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 76 of 94




                                  75
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 77 of 94




                                  76
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 78 of 94




                                  77
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 79 of 94




                                  78
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 80 of 94




                                  79
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 81 of 94




                                  80
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 82 of 94




                                  81
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 83 of 94




                                  82
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 84 of 94




                                  83
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 85 of 94




                                  84
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 86 of 94




                                  85
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 87 of 94




                                  86
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 88 of 94




                                  87
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 89 of 94




                                  88
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 90 of 94




                                  89
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 91 of 94




                                  90
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 92 of 94




                                  91
Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 93 of 94




                                  92
        Case 2:22-cv-00184-LCB-CWB Document 560-33 Filed 05/27/24 Page 94 of 94




           Child Chapter Final
           From:
           To:
                                                          Eli Coleman <               >,

           Date:             Thu, 12 May 2022 19:35:59 -0400
           Attachments:                 inal Child Chapter 5-12-22.docx (123.37 kB)

           HI-
           I have attached the Child Chapter in what I hope is the final version! I am opposed to switching the
           recommendations to suggestions. I think I addressed all other comments and edited in order to use
           our original terminology of "gender diverse" throughout. I added a little bit about the Olson 2022
           article. I also made a few minor changes myself and/or based on other author feedback. Everything is
           in track changes, including edits you have already seen from the last review.
           Please let me know how else I can help with this process. I am so glad to be nearing the finish line--
           and I have a feeling you all may be even happier about this than I am.

           On another note, I plan to go to WPATH and present about the SOC8 Child Chapter. I just don't know
           which other authors will be there, because they all do not know, so I will complete the presentation
           survey without all that information.

           Please let me know if this final version is acceptable to you.

           Thanks for everything -




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                            BOEAL WPATH 127370
                                                                                                      BOEAL_WPATH_127370


                                                              93
